               Case:21-11331-KHT Doc#:1 Filed:03/21/21                                              Entered:03/21/21 23:48:28 Page1 of 161

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                            Chapter        11                                                        ❑Check if this is an
                                                                                                                                                amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                               04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1. Debtor's name                               Futurum Communications Corporation



   2. All other names debtor used                 FORETHOUGHT.net San Isabel Telecom, Inc. BRAINSTORM INTERNET, INC. Fundamental Holdings Corp
      in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



   3. Debtor's federal Employer                   3      0 – 0     0       4   4   9    3   1
      Identification Number (EIN)



   4. Debtor's address                            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                                   business

                                                   2347 Curtis St
                                                  Number            Street                                         Number         Street



                                                                                                                   P.O. Box
                                                   Denver, CO 80205
                                                  City                                      State    ZIP Code
                                                                                                                   City                                State     ZIP Code

                                                   Denver                                                          Location of principal assets, if different from principal
                                                  County                                                           place of business


                                                                                                                   Number         Street




                                                                                                                   City                                State     ZIP Code




   5. Debtor's website (URL)                      forethought.net



   6. Type of debtor                              ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




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Debtor      Futurum Communications Corporation                                                                      Case number (if known)
           Name
                                                A. Check one:
   7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     1   7    3

   8. Under which chapter of the                Check one:
      Bankruptcy Code is the                    ❑    Chapter 7
      debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V of           ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     chapter 11 (whether or not the debtor is                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
     a “small business debtor”) must check                   this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
     the second sub-box                                      statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).
                                                       ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                             (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                             under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
                                                             do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     A plan is being filed with this petition.

                                                       ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
                                                             with 11 U.S.C. § 1126(b).
                                                       ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                             Form 201A) with this form.
                                                       ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

   9. Were prior bankruptcy cases filed by      ✔ No
                                                ❑
      or against the debtor within the last 8
      years?
                                                ❑Yes. District                                           When                    Case number
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a separate               District                                      When                     Case number
     list.                                                                                                       MM / DD / YYYY


  10. Are any bankruptcy cases pending or       ✔ No
                                                ❑
      being filed by a business partner or
      an affiliate of the debtor?               ❑Yes. Debtor                                                                     Relationship

                                                           District                                                               When
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                           Case number, if known




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                          page 2
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Debtor      Futurum Communications Corporation                                                                   Case number (if known)
           Name


  11. Why is the case filed in this     Check all that apply:
      district?
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ❑
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                        ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have       ✔ No
                                        ❑
      possession of any real property
      or personal property that needs
                                        ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                         Why does the property need immediate attention? (Check all that apply.)
                                                   ❑   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                   ❑   It needs to be physically secured or protected from the weather.
                                                   ❑   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                       example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   ❑   Other
                                                   Where is the property?
                                                                             Number          Street




                                                                             City                                            State      ZIP Code
                                                  Is the property insured?
                                                   ❑No
                                                   ❑Yes.        Insurance agency
                                                                Contact name
                                                                Phone

         Statistical and administrative information

      13. Debtor’s estimation of        Check one:
          available funds?              ✔ Funds will be available for distribution to unsecured creditors.
                                        ❑
                                        ❑After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
      14. Estimated number of           ❑ 1-49 ❑ 50-99                        ❑ 1,000-5,000 ❑ 5,001-10,000               ❑ 25,001-50,000 ❑ 50,000-100,000
          creditors                     ❑ 100-199 ❑   ✔ 200-999               ❑ 10,001-25,000                            ❑ More than 100,000

      15. Estimated assets               ❑    $0-$50,000                        ❑     $1,000,001-$10 million                   ❑     $500,000,001-$1 billion
                                         ❑    $50,001-$100,000                  ✔
                                                                                ❑     $10,000,001-$50 million                  ❑     $1,000,000,001-$10 billion
                                         ❑    $100,001-$500,000                 ❑     $50,000,001-$100 million                 ❑     $10,000,000,001-$50 billion
                                         ❑    $500,001-$1 million               ❑     $100,000,001-$500 million                ❑     More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor      Futurum Communications Corporation                                                                        Case number (if known)
           Name




                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                     ❑   $500,000,001-$1 billion
      16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ✔
                                                                                       ❑   $10,000,001-$50 million                    ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                   ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million                  ❑   More than $50 billion



         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
                    for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
          authorized representative of
          debtor                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                     correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     03/22/2021
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Jawaid Bazyar                                                      Printed name
                                                                                                                                               Jawaid Bazyar
                                                    Signature of authorized representative of debtor


                                                    Title                         President



      18. Signature of attorney
                                                ✘                            /s/ Jessica Hoff                            Date 03/22/2021
                                                                                                                                  MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Jessica Hoff
                                                    Printed name

                                                     Hoff Law Offices, P.C.
                                                    Firm name

                                                     6400 S Fiddlers Green Cir Ste 250
                                                    Number          Street


                                                     Greenwood Vlg                                                           CO               80111-5075
                                                    City                                                                     State            ZIP Code



                                                     (720) 739-3599                                                           jhoff@hofflawoffices.com
                                                    Contact phone                                                             Email address



                                                     37332                                                                    CO
                                                    Bar number                                                                State




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
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 Fill in this information to identify the case:

 Debtor name                         Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                        District of Colorado


 Case number (if known):                                                                                                                      ❑Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,       Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                               Amount of claim            Value of collateral
                                                                                                                               Do not deduct the          that supports this
                                                                                                                               value of collateral.       claim

2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien                   $54,760.31                    unknown
    Ally                                                          Describe the lien

        Creditor's mailing address
                                                                  Is the creditor an insider or related party?
        PO Box 380902                                             ❑✔ No
                                                                  ❑Yes.
        Bloomington, MN 55438-0902                                Is anyone else liable on this claim?
        Creditor's email address, if known                        ❑✔ No
                                                                  ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Date debt was incurred                             As of the petition filing date, the claim is:
                                                           Check all that apply.
        Last 4 digits of account
                                                           ❑Contingent
                                                           ❑Unliquidated
        number                      0 0 0 0
        Do multiple creditors have an interest in the same ❑Disputed
        property?
        ✔ No.
        ❑
        ❑Yes. Specify each creditor, including this creditor,
                and its relative priority.


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                 $9,887,251.26




Official Form 206D                                             Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 19
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Debtor     Futurum Communications Corporation                                                                    Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.2 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $22,803.38                unknown
    Ally                                                  Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
      PO Box 380902                                       ❑✔ No
                                                          ❑Yes.
      Bloomington, MN 55438-0902                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number                      2 6 1 1
     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.3 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $15,589.00                unknown
    Ally
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      PO Box 380902
                                                          ❑
                                                          ❑Yes.
      Bloomington, MN 55438-0902
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number                      4 7 7 3

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 19
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Debtor     Futurum Communications Corporation                                                                    Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.4 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $17,529.00                unknown
    Ally
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      PO Box 380902
                                                          ❑
                                                          ❑Yes.
      Bloomington, MN 55438-0902
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number                      4 8 7 9

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.5 Creditor’s name                                       Describe debtor’s property that is subject to a lien                    $111,621.00                unknown
    Altec Capital
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      33 Inverness Center Pkwy
                                                          ❑
      Suite 200
                                                          ❑Yes.
      Birmingham, AL 35242
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 19
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Debtor     Futurum Communications Corporation                                                                    Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.6 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $32,333.00                unknown
    Balboa Capital
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      575 Anton Blvd
                                                          ❑
      12th Floor
                                                          ❑Yes.
      Costa Mesa, CA 92626
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.7 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $21,062.00                unknown
    BNP Paribas
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      787 Seventh Avenue
                                                          ❑
                                                          ❑Yes.
      New York, NY 10019
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 19
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Debtor     Futurum Communications Corporation                                                                    Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.8 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $74,194.68                unknown
    CIT 907-0005919-000
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      PO Box 100706
                                                          ❑
                                                          ❑Yes.
      Pasadena, CA 91189-0706
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?



2.9 Creditor’s name                                       Describe debtor’s property that is subject to a lien                      $9,925.50                unknown
    CIT 907-0005955-000
                                                          Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      PO Box 100706
                                                          ❑
                                                          ❑Yes.
      Pasadena, CA 91189-0706
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 19
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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.10 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $77,220.80                unknown
     CIT 907-0006027-000
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 100706
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91189-0706
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.11     Creditor’s name                                      Describe debtor’s property that is subject to a lien                  $41,777.20                unknown
         CIT 907-0006105-000
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 100706
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91189-0706
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 19
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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                  Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the         that supports this
 page.                                                                                                                  value of collateral.      claim

2.12 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $5,068.00                unknown
     CIT 907-0006108-000
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 100706
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91189-0706
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.13 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $58,837.38                 unknown
     CIT 907-0006156-000
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 100706
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91189-0706
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.14 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $41,800.66                unknown
     CIT 907-0006190-000
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 100706
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91189-0706
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.15 Creditor’s name                                          Describe debtor’s property that is subject to a lien               $2,067,176.63                unknown
     Collegiate Peaks Bank
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         885 S Colorado Blvd
                                                              ❑
                                                              ❑Yes.
         Denver, CO 80246
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 8 of 19
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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.16 Creditor’s name                                          Describe debtor’s property that is subject to a lien                 $870,662.39                unknown
     Community Banks of Colorado
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         19 N Tejon St Ste 100
                                                              ❑
                                                              ❑Yes.
         Colorado Springs, CO 80903
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.17 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $27,586.99                unknown
     Consara Financing
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         7375 E 5th Avenue Pkw
                                                              ❑
                                                              ❑Yes.
         Denver, CO 80230
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                  Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the         that supports this
 page.                                                                                                                  value of collateral.      claim

2.18 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $2,040.00               unknown
     Dell Financial Services-001-Auto
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         P O Box 5292
                                                              ❑
                                                              ❑Yes.
         Carol Stream, IL 60197-5292
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.19 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $8,965.00               unknown
     Dell Financial Services-002-Auto
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         P O Box 5292
                                                              ❑
                                                              ❑Yes.
         Carol Stream, IL 60197-5292
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                  Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the         that supports this
 page.                                                                                                                  value of collateral.      claim

2.20 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $1,315.00               unknown
     Dell Financial Services-003-Auto
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         P O Box 5292
                                                              ❑
                                                              ❑Yes.
         Carol Stream, IL 60197-5292
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.21 Creditor’s name                                          Describe debtor’s property that is subject to a lien                    $6,864.00               unknown
     Dell Financial Services-004-AUTO
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         P O Box 5292
                                                              ❑
                                                              ❑Yes.
         Carol Stream, IL 60197-5292
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.22 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $15,113.00               unknown
     Direct Capital / CIT
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 7056
                                                              ❑
                                                              ❑Yes.
         Pasadena, CA 91109-9699
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.23 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $23,000.00               unknown
     Jawaid Bazyar
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         4705 Helena St
                                                              ❑
                                                              ❑Yes.
         Denver, CO 80239
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 12 of 19
              Case:21-11331-KHT Doc#:1 Filed:03/21/21                                      Entered:03/21/21 23:48:28 Page17 of 161

Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                  Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the         that supports this
 page.                                                                                                                  value of collateral.      claim

2.24 Creditor’s name                                          Describe debtor’s property that is subject to a lien               $4,731,350.34                unknown
     Jayson Baker
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         1351 Browning Ave
                                                              ❑
                                                              ❑Yes.
         Woodland Park, CO 80863
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.25 Creditor’s name                                          Describe debtor’s property that is subject to a lien                        $0.00               unknown
     Jayson Baker c/o Sherman & Howard
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         633 17th St
                                                              ❑
         Suite 3000
                                                              ❑Yes.
         Denver, CO 80202
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.26 Creditor’s name                                          Describe debtor’s property that is subject to a lien                 $379,178.00               unknown
     Jim Culhane
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         7375 E 5th Avenue Pkw
                                                              ❑
                                                              ❑Yes.
         Denver, CO 80230
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.27 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $41,680.00               unknown
     John Deere
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         6400 NW 86th St
                                                              ❑
         PO Box 6600
                                                              ❑Yes.
         Johnston, IA 50131-6600
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.28 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $59,327.00               unknown
     LEAF 001
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 5066
                                                              ❑
                                                              ❑Yes.
         Hartford, CT 06102-5066
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.29 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $12,454.00               unknown
     Nissan
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 660360
                                                              ❑
                                                              ❑Yes.
         Dallas, TX 75266-0360
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.30 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $12,406.00               unknown
     Nissan
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 660360
                                                              ❑
                                                              ❑Yes.
         Dallas, TX 75266-0360
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.31 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $12,094.00               unknown
     Nissan
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 660360
                                                              ❑
                                                              ❑Yes.
         Dallas, TX 75266-0360
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.32 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $12,553.00               unknown
     Nissan
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 660360
                                                              ❑
                                                              ❑Yes.
         Dallas, TX 75266-0360
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.33 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $11,739.00               unknown
     Nissan
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         PO Box 660360
                                                              ❑
                                                              ❑Yes.
         Dallas, TX 75266-0360
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number                      0 0 0 1

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 17 of 19
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Debtor        Futurum Communications Corporation                                                                 Case number (if known)
             Name

                                                                                                                        Column A                 Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim          Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the        that supports this
 page.                                                                                                                  value of collateral.     claim

2.34 Creditor’s name                                          Describe debtor’s property that is subject to a lien                  $44,888.00               unknown
     Shawn Champagne
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         66 CENTRAL ST
                                                              ❑
                                                              ❑Yes.
         Framingham, MA "01701
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?



2.35 Creditor’s name                                          Describe debtor’s property that is subject to a lien                 $962,337.00               unknown
     VoIP, LLC
                                                              Describe the lien

         Creditor's mailing address
                                                              Is the creditor an insider or related party?
                                                               ✔ No
         7375 E 5th Avenue Pkw
                                                              ❑
                                                              ❑Yes.
         Denver, CO 80230
                                                              Is anyone else liable on this claim?
         Creditor's email address, if known                   ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Date debt was incurred                             As of the petition filing date, the claim is:
                                                            Check all that apply.
         Last 4 digits of account
                                                            ❑Contingent
                                                            ❑Unliquidated
         number

         Do multiple creditors have an interest in the same ❑Disputed
         property?
         ✔ No.
         ❑
         ❑Yes. Have you already specified the relative
                 priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 18 of 19
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Debtor      Futurum Communications Corporation                                                                  Case number (if known)
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 19 of 19
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 Fill in this information to identify the case:

 Debtor name                       Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $1,339.51                       unknown
       Arapahoe County Treasurer                              Check all that apply.
                                                              ❑ Contingent
       5334 S Prince St                                       ❑ Unliquidated
                                                              ❑ Disputed
       Littleton, CO 80120-1136                               Basis for the Claim:

       Date or dates debt was incurred
                                                              Is the claim subject to offset?
                                                              ✔ No
                                                              ❑
       Last 4 digits of account                               ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
2.2 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $4,802.67                       unknown
       Boulder County Assessors Office                        Check all that apply.
                                                              ❑ Contingent
       Attn: Paul Weissmann                                   ❑ Unliquidated
       P.O. Box 471                                           ❑ Disputed
       Boulder, CO 80306                                      Basis for the Claim:

       Date or dates debt was incurred
                                                              Is the claim subject to offset?
                                                              ✔ No
                                                              ❑
       Last 4 digits of account                               ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 57
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Debtor      Futurum Communications Corporation                                                         Case number (if known)
           Name




 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $25.00                   unknown
      City and county of Denver                        Check all that apply.
                                                       ❑ Contingent
      PO BOX 650781                                    ❑ Unliquidated
                                                       ❑ Disputed
      Dallas, TX 75265-0781                            Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)
2.4 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $22,961.92               unknown
      City and County of Denver Department of          Check all that apply.
      Finance Treasury divison                         ❑ Contingent
                                                       ❑ Unliquidated
      PO BOX 660860
                                                       ❑ Disputed
      201 W Colfax Ave
                                                       Basis for the Claim:
      Denver, CO 80202-5329

     Date or dates debt was incurred                   Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Last 4 digits of account
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)
2.5 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $9,739.44                unknown
      City of Aurora                                   Check all that apply.
                                                       ❑ Contingent
      PO BOX 913200                                    ❑ Unliquidated
                                                       ❑ Disputed
      Denver, CO 80291-3200                            Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                    page 2 of 57
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Debtor      Futurum Communications Corporation                                                         Case number (if known)
           Name




 Part 1: Additional Page

2.6 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $1,590.00                unknown
      City of Englewood                                Check all that apply.
                                                       ❑ Contingent
      1000 Engelwood Parkway                           ❑ Unliquidated
                                                       ❑ Disputed
      Englewood, CO 80110-2373                         Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)
2.7 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $1,358.14                unknown
      CO Department of Labor and Employment            Check all that apply.
                                                       ❑ Contingent
      PO BOX 400                                       ❑ Unliquidated
                                                       ❑ Disputed
      Denver , CO 80201-0400                           Basis for the Claim:

     Date or dates debt was incurred
                                                       Is the claim subject to offset?
                                                       ✔ No
                                                       ❑
     Last 4 digits of account                          ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)
2.8 Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $6,562.00                unknown
      CO Department of Revenue                         Check all that apply.
                                                       ❑ Contingent
                                                       ❑ Unliquidated
      Denver, CO 802610004
                                                       ❑ Disputed
                                                       Basis for the Claim:
     Date or dates debt was incurred


                                                       Is the claim subject to offset?
     Last 4 digits of account                          ✔ No
                                                       ❑
     number                                            ❑ Yes
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                    page 3 of 57
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Debtor        Futurum Communications Corporation                                                         Case number (if known)
             Name




 Part 1: Additional Page

2.9   Priority creditor’s name and mailing address       As of the petition filing date, the claim is:   $3,530.00                unknown
         Colorado Department of Revenue                  Check all that apply.
                                                         ❑ Contingent
                                                         ❑ Unliquidated
         Denver, CO 80261-0004
                                                         ❑ Disputed
                                                         Basis for the Claim:
         Date or dates debt was incurred


                                                         Is the claim subject to offset?
         Last 4 digits of account                        ✔ No
                                                         ❑
         number                                          ❑ Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.10 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $682.59                  unknown
         Department of Treasury IRS                      Check all that apply.
                                                         ❑ Contingent
                                                         ❑ Unliquidated
         Ogden, UT 842010030
                                                         ❑ Disputed
                                                         Basis for the Claim:
         Date or dates debt was incurred


                                                         Is the claim subject to offset?
         Last 4 digits of account                        ✔ No
                                                         ❑
         number                                          ❑ Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.11 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $78,759.93               unknown
         Eagle County - Property Tax thru 2018           Check all that apply.
                                                         ❑ Contingent
         500 Broadway                                    ❑ Unliquidated
         po box 479                                      ❑ Disputed
         Eagle, CO 81631-0479                            Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)




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Debtor        Futurum Communications Corporation                                                         Case number (if known)
             Name




 Part 1: Additional Page

2.12 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $11,279.76               unknown
         FCC Unicesal service administrative Co          Check all that apply.
                                                         ❑ Contingent
         PO BOX 47607                                    ❑ Unliquidated
                                                         ❑ Disputed
         Baltimore , MD 21244                            Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.13 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $14,331.27               unknown
         Internal REvenue Service                        Check all that apply.
                                                         ❑ Contingent
         PO Box 932700                                   ❑ Unliquidated
                                                         ❑ Disputed
         Louisville, KY 40293-2700                       Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number 4 9 3 1
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.14 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $2,590.89                unknown
         Interstate TRS Fund                             Check all that apply.
                                                         ❑ Contingent
         P.O. Box 62634                                  ❑ Unliquidated
                                                         ❑ Disputed
         Baltimore, MD 21264-2631                        Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)




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Debtor        Futurum Communications Corporation                                                         Case number (if known)
             Name




 Part 1: Additional Page

2.15 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $65.31                   unknown
         New Mexico Taxation & Revenue                   Check all that apply.
                                                         ❑ Contingent
                                                         ❑ Unliquidated
         Santa Fe, NM 80205-2627
                                                         ❑ Disputed
                                                         Basis for the Claim:
         Date or dates debt was incurred


                                                         Is the claim subject to offset?
         Last 4 digits of account                        ✔ No
                                                         ❑
         number                                          ❑ Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.16 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $1,889.47                unknown
         Rolka Loube                                     Check all that apply.
                                                         ❑ Contingent
         4423 N Front St                                 ❑ Unliquidated
                                                         ❑ Disputed
         Harrisburg, PA 177110                           Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.17 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $2,928.00                unknown
         Rolka Loube                                     Check all that apply.
                                                         ❑ Contingent
         4423 N Front St                                 ❑ Unliquidated
                                                         ❑ Disputed
         Harrisburg, PA 17710                            Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)




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Debtor        Futurum Communications Corporation                                                         Case number (if known)
             Name




 Part 1: Additional Page

2.18 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   $5,711.18                unknown
         Teller County Clerk & Recorder                  Check all that apply.
                                                         ❑ Contingent
         PO Box 1010                                     ❑ Unliquidated
                                                         ❑ Disputed
         Cripple Creek, CO 80813-1010                    Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)
2.19 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   unknown                  unknown
         universal service administrative                Check all that apply.
                                                         ❑ Contingent
         PO BOX 47607                                    ❑ Unliquidated
                                                         ❑ Disputed
         Baltimore , MD 21244                            Basis for the Claim:

         Date or dates debt was incurred
                                                         Is the claim subject to offset?
                                                         ✔ No
                                                         ❑
         Last 4 digits of account                        ❑ Yes
         number
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a)




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Debtor       Futurum Communications Corporation                                                                     Case number (if known)
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $2,254.00
       A1 Fiber Optics, LLC                                                    Check all that apply.
                                                                               ❑ Contingent
       Suite 400-348                                                           ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Grand Junction, CO 81505                                                Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $52,049.08
       American Express                                                        Check all that apply.
                                                                               ❑ Contingent
       PO Box 650448                                                           ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Dallas, TX 75265-0448                                                   Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $13,624.00
       American Tower                                                          Check all that apply.
                                                                               ❑ Contingent
       29637 Network Place                                                     ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Chicago, IL 60673-1296                                                  Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number          5   0    1   7

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $11,992.06
3.4                                                                            Check all that apply.
       American Tower
                                                                               ❑ Contingent
       29637 Network Place                                                     ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Chicago, IL 60673-1296                                                  Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $200.00
3.5                                                                            Check all that apply.
       Andrew Wommack Ministries
                                                                               ❑ Contingent
       1 Innovation Way Ste B                                                  ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim:
       Woodland Park, CO 80863                                               Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
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Debtor        Futurum Communications Corporation                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $119.85
         APEX Security                                                     Check all that apply.
                                                                           ❑ Contingent
         410 SW COLUMBIA STREET                                            ❑ Unliquidated
                                                                           ❑ Disputed
         Ste 120
                                                                           Basis for the claim:
         Bend, OR 97702                                                    Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $229.60
         APEX Security Fire Alarm                                          Check all that apply.
                                                                           ❑ Contingent
         410 SW COLUMBIA STREET                                            ❑ Unliquidated
                                                                           ❑ Disputed
         Ste 120
                                                                           Basis for the claim:
         Bend, OR 97702                                                    Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,000.00
         ARIN                                                              Check all that apply.
                                                                           ❑ Contingent
         PO Box 759477                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Baltimore, MD 21275-9477                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       C   -   3    9

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $421.23
3.9                                                                        Check all that apply.
         ATL Communications
                                                                           ❑ Contingent
         2700 NE 4th St, Ste 240                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Bend, OR 97701                                                    Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       U A     6    0

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,920.00
3.10                                                                       Check all that apply.
         Aubrey Shomo-1099
                                                                           ❑ Contingent
         1550 Larimer St. PMB 255                                          ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80202                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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Debtor        Futurum Communications Corporation                                                              Case number (if known)
             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $579.00
         Avalara                                                           Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 122397                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Dallas, TX 75312-2397                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.12 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $315.00
         Aztec,City of(Tower Rental)                                       Check all that apply.
                                                                           ❑ Contingent
         201 W Chaco                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Aztec, NM 87410                                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R    M

3.13 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $393.17
         Bandwidth.com, Inc                                                Check all that apply.
                                                                           ❑ Contingent
         PO Box 715382                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Cincinnati, OH 45271-5382                                         Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       1   7   4    7

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $15,199.87
3.14                                                                       Check all that apply.
         Bank of America
                                                                           ❑ Contingent
         PO Box 982238                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         El Paso, TX 79998-2238                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $745.00
3.15                                                                       Check all that apply.
         Banner Life Insurance Company
                                                                           ❑ Contingent
         3275 Bennett Breek Ave                                            ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Frederick, MD 21704-7608                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.16 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,784.00
         BLM                                                               Check all that apply.
                                                                           ❑ Contingent
         PO Box 25047                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         OC-371
                                                                           Basis for the claim:
         Denver, CO 80225-0047                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,843.41
         Bulk Solutions LLC                                                Check all that apply.
                                                                           ❑ Contingent
         5 Piccadilly Rd                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Great Neck, NY 11023                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $25,380.38
         Calix                                                             Check all that apply.
                                                                           ❑ Contingent
         PO Box 843163                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Dallas, TX 75284-3163                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $21,228.80
3.19                                                                       Check all that apply.
         Calix Inc
                                                                           ❑ Contingent
         PO Box 843163                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Dallas, TX 75284-3163                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $540,000.00
3.20                                                                       Check all that apply.
         CenturyLink
                                                                           ❑ Contingent
         CenturyLink - Access Billing                                      ❑ Unliquidated
                                                                           ❑ Disputed
         CABS 2 Tower South
                                                                           Basis for the claim:
         Monroe, LA 71211-4648                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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3.21 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $25,844.06
         Centurylink 5-YBSMFPDM-A                                          Check all that apply.
                                                                           ❑ Contingent
         CenturyLink - Access Billing                                      ❑ Unliquidated
                                                                           ❑ Disputed
         CABS 2 Tower South
                                                                           Basis for the claim:
         Monroe, LA 71211-4648                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.22 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $279.31
         CenturyLink 7196874325074B                                        Check all that apply.
                                                                           ❑ Contingent
         PO Box 91155                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Seattle, WA 98111-9255                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       0   7   4    B

3.23 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $46.71
         CenturyLink 7196879071465B                                        Check all that apply.
                                                                           ❑ Contingent
         PO Box 91155                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Seattle, WA 98111-9255                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       4   6   5    B

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $473.51
3.24                                                                       Check all that apply.
         CenturyLink 86983290
                                                                           ❑ Contingent
         PO Box 52187                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Phoenix, AZ 85072-2187                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       3   2   9    0

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $631.84
3.25                                                                       Check all that apply.
         CenturyLink K3031111174174M
                                                                           ❑ Contingent
         PO Box 91155                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Seattle, WA 98111-9255                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.26 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $591.46
         CenturyLink K7196870326463M                                       Check all that apply.
                                                                           ❑ Contingent
         PO Box 91155                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Seattle, WA 98111-9255                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       4   6   3    M

3.27 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $599.14
         CenturyLink K7196870329072M                                       Check all that apply.
                                                                           ❑ Contingent
         PO Box 91155                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Seattle, WA 98111-9255                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       0   7   2    M

3.28 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $13.50
         CenturyLink-Lexcis                                                Check all that apply.
                                                                           ❑ Contingent
         LEXCIS                                                            ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 2348
                                                                           Basis for the claim:
         Seattle, WA 98111                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       V   -   5    0

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $450.00
3.29                                                                       Check all that apply.
         Charles N. Nichols
                                                                           ❑ Contingent
         P.O. Box 85                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Molina, CO 81646                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $10,308.49
3.30                                                                       Check all that apply.
         Chase Card
                                                                           ❑ Contingent
         PO Box 6294                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Carol Stream, IL 60197-6294                                       Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.31 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $10,716.64
         Christine Taylor                                                  Check all that apply.
                                                                           ❑ Contingent
         15333 Heritage circle                                             ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Thornton, CO 80602                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.32 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,612.14
         Circle Z Construction                                             Check all that apply.
                                                                           ❑ Contingent
         PO Box 625                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Mancos, CO 81328                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.33 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $5,961.75
         Citi Cards                                                        Check all that apply.
                                                                           ❑ Contingent
         6716 Grade Lane                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Building 9, Suite 910
                                                                           Basis for the claim:
         Louisville, KY 40213                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       4   2   3    1

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $7,521.50
3.34                                                                       Check all that apply.
         CitiCards
                                                                           ❑ Contingent
         PO Box 6235                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Sioux Falls, SD 57117-6235                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $7,770.00
3.35                                                                       Check all that apply.
         City Of Cortez
                                                                           ❑ Contingent
         123 Roger Smith Ave                                               ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Cortez, CO 81321                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.36 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $14,470.46
         city of durango                                                   Check all that apply.
                                                                           ❑ Contingent
         949 E 2nd Ave                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Durango, CO 81301                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.37 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $892.00
         City of Farmington                                                Check all that apply.
                                                                           ❑ Contingent
         101 N Browning PKWY                                               ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Farmington, NM 87401-7995                                         Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.38 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,050.00
         Clearnetworx - 105010                                             Check all that apply.
                                                                           ❑ Contingent
         PO Box 1809                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Montrose, CO 81402                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $4,000.00
3.39                                                                       Check all that apply.
         Clearnetworx - 106522
                                                                           ❑ Contingent
         PO Box 1809                                                       ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Montrose, CO 81402                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,100.00
3.40                                                                       Check all that apply.
         Colorado Division of Labor
                                                                           ❑ Contingent
         633 17th St Ste 201                                               ❑ Unliquidated
                                                                           ❑ Disputed
         Denver, CO 80202-3624
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes

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3.41 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $814.45
         Colorado Hi-Tek                                                   Check all that apply.
                                                                           ❑ Contingent
         Ste 292                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Gillette, WY 82716                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R    M

3.42 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $60.50
         Colorado Parks and Wildlife                                       Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 173923                                                   ❑ Unliquidated
                                                                           ❑ Disputed
         Denver, CO 80217
                                                                           Basis for the claim:
         Denver, CO 80217                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.43 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $25,536.11
         Colorado West Broadcasting                                        Check all that apply.
                                                                           ❑ Contingent
         3230-B South Glen Ave                                             ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Glennwood Springs, CO 81601                                       Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $948.20
3.44                                                                       Check all that apply.
         Comcast - Enterprise
                                                                           ❑ Contingent
         PO Box 37601                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Philadelphia, PA 19101                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $18,574.28
3.45                                                                       Check all that apply.
         Comcast Business-ETH
                                                                           ❑ Contingent
         PO Box 37601                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Philapephia, PA 19104-0601                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.46 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $48,529.00
         Comcast Technology Solutions-DIA                                  Check all that apply.
                                                                           ❑ Contingent
         13431 Collections Center Drive                                    ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Chicago, IL 60693                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   2   0    0

3.47 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $34,928.75
         Commissions -BS -eTech Broadband, LLC                             Check all that apply.
                                                                           ❑ Contingent
         Ken Olson                                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Norwood, CO 81423                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.48 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,934.86
         Commissions-All Mountain Technologies                             Check all that apply.
                                                                           ❑ Contingent
         27 Main Street, Suite 200                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Edwards, CO 81632                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $3,555.00
3.49                                                                       Check all that apply.
         Commissions-All Mountain Technologies
                                                                           ❑ Contingent
         27 Main Street, Suite 200                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Edwards, CO 81632                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,136.32
3.50                                                                       Check all that apply.
         Commissions-Allen IT
                                                                           ❑ Contingent
         5700 Washington St.                                               ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80216                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.51 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $9,158.09
         Commissions-Anchor Network Solutions                              Check all that apply.
                                                                           ❑ Contingent
         9233 Park Meadows Drive                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         LoneTree, CO 80124                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.52 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $840.00
         Commissions-Automation Concepts Co                                Check all that apply.
                                                                           ❑ Contingent
         1250 Bergen Pkwy                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Ste B100
                                                                           Basis for the claim:
         Evergreen, CO 80439                                               Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.53 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $171.91
         Commissions-Brooktrout Telecom                                    Check all that apply.
                                                                           ❑ Contingent
         2751 E Linvale Pl                                                 ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80210                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $773.33
3.54                                                                       Check all that apply.
         Commissions-CommWest
                                                                           ❑ Contingent
         302 South Ave                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Grand Junction, CO 81501                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,585.63
3.55                                                                       Check all that apply.
         Commissions-Confitel, LLC
                                                                           ❑ Contingent
         William Kendrick                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         2253 Madison Dr.
                                                                           Basis for the claim:
         Erie, CO 80516                                                    Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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Debtor        Futurum Communications Corporation                                                              Case number (if known)
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3.56 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,278.26
         Commissions-CTG3, LLC                                             Check all that apply.
                                                                           ❑ Contingent
         1232 250th Ave NE                                                 ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Redmond, WA 98074                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.57 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,140.46
         Commissions-Decypher Technologies                                 Check all that apply.
                                                                           ❑ Contingent
         2700 Gilstrap Court                                               ❑ Unliquidated
                                                                           ❑ Disputed
         Ste 220
                                                                           Basis for the claim:
         Glenwood Springs, CO 81601                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.58 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $300.00
         Commissions-High Plains Computer Services                         Check all that apply.
                                                                           ❑ Contingent
         2841 Penstemon Way                                                ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Castle Rock, CO 80109                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $20,714.13
3.59                                                                       Check all that apply.
         Commissions-IQWired Inc.
                                                                           ❑ Contingent
         PO Box 460099                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80246                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $467.87
3.60                                                                       Check all that apply.
         Commissions-Liberty Communications
                                                                           ❑ Contingent
         510 Compton                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         Ste 101
                                                                           Basis for the claim:
         Broomfield, CO 80020                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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3.61 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $6,423.05
         Commissions-McGowan Consulting                                    Check all that apply.
                                                                           ❑ Contingent
         288 28 Rd                                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Grand Junction, CO 81503                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.62 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $733.32
         Commissions-Mile High PC Solutions                                Check all that apply.
                                                                           ❑ Contingent
         10153 Scenic Ct                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Firestone, CO 80504                                               Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $431.69
         Commissions-MITech                                                Check all that apply.
                                                                           ❑ Contingent
         276 S Tucson Circle                                               ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Aurora, CO 80012                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $274.19
3.64                                                                       Check all that apply.
         Commissions-NCS
                                                                           ❑ Contingent
         200 W Main St                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Farmington, NM 87401                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,034.02
3.65                                                                       Check all that apply.
         Commissions-Optimal Telecom Solutions
                                                                           ❑ Contingent
         1925 Dominion way #101                                            ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Colorado Springs, CO 80918                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.66 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,062.03
         Commissions-Pegasus Communications                                Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 440636                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Aurora, CO 80044                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.67 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $915.00
         Commissions-Pipertel Communications, LLC                          Check all that apply.
                                                                           ❑ Contingent
         PO Box 987                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Evergreen, CO 80437                                               Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.68 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,583.69
         Commissions-PJV Consulting                                        Check all that apply.
                                                                           ❑ Contingent
         2501 Locust St                                                    ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80207                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,702.34
3.69                                                                       Check all that apply.
         Commissions-Radix Tech-CybertekSystems
                                                                           ❑ Contingent
         c/o Believe Ventures                                              ❑ Unliquidated
                                                                           ❑ Disputed
         965 S 1st Street, Unit F110
                                                                           Basis for the claim:
         Bennett, CO 80102                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $225.00
3.70                                                                       Check all that apply.
         Commissions-RealCom Solutions
                                                                           ❑ Contingent
         Attn: Charlie Bogart                                              ❑ Unliquidated
                                                                           ❑ Disputed
         5713 Headquarters Dr
                                                                           Basis for the claim:
         Plano, TX 75024                                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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3.71 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $31,322.06
         Commissions-Rocky Mountain Tech Team                              Check all that apply.
                                                                           ❑ Contingent
         2525 Arapahoe Ave Unit E-4-184                                    ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Boulder, CO 80302                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.72 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $9,394.96
         Commissions-Telecom Efficient                                     Check all that apply.
                                                                           ❑ Contingent
         4610 S Ulster St                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Ste 150
                                                                           Basis for the claim:
         Denver, CO 80237                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.73 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,404.30
         Commissions-Telecom National                                      Check all that apply.
                                                                           ❑ Contingent
         1794 Boulder Moutain Rd                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         St George, UT 84790                                               Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,552.50
3.74                                                                       Check all that apply.
         Commissions-Total Solutions
                                                                           ❑ Contingent
         454 Las Gallinas Ave, Ste 150                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         San Rafael, CA 94903                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $11,516.00
3.75                                                                       Check all that apply.
         Commissions-Turnkey Telecom
                                                                           ❑ Contingent
         6586 S Xenon St                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Littleton, CO 80127                                               Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.76 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $556.19
         Commissions-Twisted Pair                                          Check all that apply.
                                                                           ❑ Contingent
         Twisted Pair NM, LLC                                              ❑ Unliquidated
                                                                           ❑ Disputed
         406 McDonald Rd
                                                                           Basis for the claim:
         Farmington, NM 87401                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.77 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,151.05
         Commissions-Walnut Telecom Group                                  Check all that apply.
                                                                           ❑ Contingent
         865 S. Cove Way                                                   ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80209                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.78 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $12,704.00
         Commnet Atlantic Tele-Network                                     Check all that apply.
                                                                           ❑ Contingent
         Attn: Accounts Receivable                                         ❑ Unliquidated
                                                                           ❑ Disputed
         400 Northridge Pkwy, Suite 325
                                                                           Basis for the claim:
         Atlanta, GA 30350                                                 Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       T   O   R    M

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $314.78
3.79                                                                       Check all that apply.
         Community banks
                                                                           ❑ Contingent
         PO Box 26526                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Kansas CIty, MO 64196                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,835.62
3.80                                                                       Check all that apply.
         Consolidated Call Center Services
                                                                           ❑ Contingent
         dba Consolidated CCS                                              ❑ Unliquidated
                                                                           ❑ Disputed
         PO Box 861
                                                                           Basis for the claim:
         Mattoon, IL 61938-0861                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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3.81 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,850.00
         CoreSite Services, Inc.                                           Check all that apply.
                                                                           ❑ Contingent
         PO Box 74338                                                      ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Cleveland, OH 44194-4338                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.82 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,937.50
         Daniel J Culhane LLC                                              Check all that apply.
                                                                           ❑ Contingent
         1600 Broadway                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Suite 1400
                                                                           Basis for the claim:
         Denver, CO 80202                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

3.83 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,045.80
         Data102                                                           Check all that apply.
                                                                           ❑ Contingent
         Suite 220                                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Colorado Springs, CO 80903                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $21,927.55
3.84                                                                       Check all that apply.
         Davis Graham & Stubbs
                                                                           ❑ Contingent
         Suite 500                                                         ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80202                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       0   7   9    2

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $80,511.70
3.85                                                                       Check all that apply.
         DB Tech Inc.
                                                                           ❑ Contingent
         Suite E                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Bloomfield, NM 87413                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.86 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,351.80
         Delta Dental of Colorado                                          Check all that apply.
                                                                           ❑ Contingent
         PO Box 912148                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80291-2148                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.87 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $578.05
         Denver Fire Prevention Division                                   Check all that apply.
                                                                           ❑ Contingent
         Attn: Permits                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         P.O. Box 733422
                                                                           Basis for the claim:
         Dallas, TX 75373-3422                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number       9   6   2    9

3.88 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $25,013.66
         Denver Gas & Electric - DGEB Meet Me Room                         Check all that apply.
                                                                           ❑ Contingent
         910 15th St, Ste 1050                                             ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Denver, CO 80202                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $100.00
3.89                                                                       Check all that apply.
         Department of Treasury IRS CP504B
                                                                           ❑ Contingent
         185 Little Park Road                                              ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Grand Junction, CO 81507                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R    M

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $2,440.29
3.90                                                                       Check all that apply.
         Ditch Witch of the Rockies
                                                                           ❑ Contingent
         9000N I-35 Svc Rd                                                 ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Oklahoma City, OK 73131                                           Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

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3.91 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $5,625.05
         Division Of Property Taxation                                     Check all that apply.
                                                                           ❑ Contingent
         1313 N Sherman St Ste 419                                         ❑ Unliquidated
                                                                           ❑ Disputed
         Denver, CO 80203-2242
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.92 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,195.00
         Douglas Wagner                                                    Check all that apply.
                                                                           ❑ Contingent
         P.O. Box 2457                                                     ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Monument, CO 80132                                                Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.93 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $0.00
         DPE, LLC - GJISP - 2nd Palisade                                   Check all that apply.
                                                                           ❑ Contingent
         575 South Westgate Drive                                          ❑ Unliquidated
                                                                           ❑ Disputed
         Unit A
                                                                           Basis for the claim:
         Grand Junction, CO 81505                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $6,952.50
3.94                                                                       Check all that apply.
         DPE, LLC - Palisade & Gray Head
                                                                           ❑ Contingent
         575 South Westgate Drive                                          ❑ Unliquidated
                                                                           ❑ Disputed
         Unit A
                                                                           Basis for the claim:
         Grand Junction, CO 81505                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $6,399.06
3.95                                                                       Check all that apply.
         Eagle County
                                                                           ❑ Contingent
         500 Broadway                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         po box 479
                                                                           Basis for the claim:
         Eagle, CO 81631-0479                                              Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number


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3.96     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $19,933.28
         Eagle County Treasurer                                             Check all that apply.
                                                                            ❑ Contingent
         500 Broadway                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         po box 479
                                                                            Basis for the claim:
         Eagle, CO 81631-0479                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.97     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $701.71
         Edgeconnex                                                         Check all that apply.
                                                                            ❑ Contingent
         Suite 400                                                          ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Herndon, VA 20171                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.98     Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $29.30
         EXPRESSTOLL                                                        Check all that apply.
                                                                            ❑ Contingent
         22470 E Stephen D. Hogan Parkway                                   ❑ Unliquidated
                                                                            ❑ Disputed
         #110
                                                                            Basis for the claim:
         Aurora, CO 80018                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $82,817.44
3.99                                                                        Check all that apply.
         ExteNet Systems Inc
                                                                            ❑ Contingent
         3030 Warrenville Rd Ste 340                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Lisle, IL 60532                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $35.00
3.100                                                                       Check all that apply.
         Farmington, City of (Licensing)
                                                                            ❑ Contingent
         800 Municipal Dr                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Farmington, NM 87401-2663
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

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3.101 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $582.94
         Fast-Break Auto Glass                                              Check all that apply.
                                                                            ❑ Contingent
         PO Box 3000-228                                                    ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Edwards, CO 81632                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.102 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $32,839.86
         FastTrack Communications                                           Check all that apply.
                                                                            ❑ Contingent
         Ste 200                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durango, CO 81301                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R     M

3.103 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,755.00
         Fiber Optic Supply                                                 Check all that apply.
                                                                            ❑ Contingent
         2171 S. Trenton Way                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denver, CO 80231-5359                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $400.00
3.104                                                                       Check all that apply.
         Four States Communications
                                                                            ❑ Contingent
         909 E Murray Dr                                                    ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         FARMINGTON, NM 87401                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,200.00
3.105                                                                       Check all that apply.
         Gary Mills
                                                                            ❑ Contingent
         PO Box 83                                                          ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Florrisant, CO 80816                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.106 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $709.50
         Glenwood Caverns Adventure Park                                    Check all that apply.
                                                                            ❑ Contingent
         51000 Two Rivers Plaza Rd                                          ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Glenwood Springs, CO 81601                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R     M

3.107 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $21,205.00
         Gomerdinger & Associates LLC                                       Check all that apply.
                                                                            ❑ Contingent
         Suite 1300                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Greenwood Village, CO 80111                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.108 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $0.00
         Grand Valley Power - 1200                                          Check all that apply.
                                                                            ❑ Contingent
         PO Box 190                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81502                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       1   2   0     0

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $31.97
3.109                                                                       Check all that apply.
         Grand Valley Power-1301 48RD (AUTO)
                                                                            ❑ Contingent
         PO Box 190                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81502                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       1   3   0     1

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.110                                                                       Check all that apply.
         Grand Valley Power-2101 44RD (AUTO)
                                                                            ❑ Contingent
         PO Box 190                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81502                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.111 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $0.00
         Grand Valley Power-3010 Store (AUTO)                              Check all that apply.
                                                                           ❑ Contingent
         PO Box 190                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81502                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       3   0   1    0

3.112 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $0.00
         Grand Valley Power-7102 Trnsmttr (AUTO)                           Check all that apply.
                                                                           ❑ Contingent
         PO Box 190                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81502                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       7   1   0    2

3.113 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $7,901.59
         Grand Valley Telecommunications                                   Check all that apply.
                                                                           ❑ Contingent
         123 North 7th St, #120                                            ❑ Unliquidated
                                                                           ❑ Disputed
                                                                            Basis for the claim:
         Grand Junction, CO 81501                                          Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       3   5   1    3

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,662.74
3.114                                                                      Check all that apply.
         Graybar
                                                                           ❑ Contingent
         File 57072                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                            Basis for the claim:
         Los Angeles, CA 90074-7072                                        Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $8,698.58
3.115                                                                      Check all that apply.
         Graybar Electric
                                                                           ❑ Contingent
         480 E 55TH AVE                                                    ❑ Unliquidated
                                                                           ❑ Disputed
         UNIT 500
                                                                            Basis for the claim:
         denver, CO 80216-1762                                             Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes

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3.116 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,570.00
         GVNW Consulting                                                    Check all that apply.
                                                                            ❑ Contingent
         2211 N Minnesota St                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Mitchell, SD 57301                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.117 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $3,918.48
         GVNW Consulting                                                    Check all that apply.
                                                                            ❑ Contingent
         2211 N Minnesota St                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Mitchell, SD 57301                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.118 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,216.41
         GW Highlander, LLC                                                 Check all that apply.
                                                                            ❑ Contingent
         511 Butte Circle                                                   ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durango, CO 81301                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $818.00
3.119                                                                       Check all that apply.
         H5 Data Centers
                                                                            ❑ Contingent
         9320 Wilshire Boulevard                                            ❑ Unliquidated
                                                                            ❑ Disputed
         #300
                                                                            Basis for the claim:
         Beverly Hills, CA 90212                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number       t   h   o     u

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
3.120                                                                       Check all that apply.
         Hanover Insurance Company (Auto)
                                                                            ❑ Contingent
         PO Box 15083                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Worcester, MA 01615-0083                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.121 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $286.44
         Hercules Storage Containers                                        Check all that apply.
                                                                            ❑ Contingent
         281 S Skylane Dr unit c                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durango, CO 81303                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.122 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,000.00
         High Mtn Messenger LLC dbaThe Mtn Jackpot                          Check all that apply.
                                                                            ❑ Contingent
         dba The Mountain Jackpot                                           ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 116
                                                                            Basis for the claim:
         Woodland Park, CO 80866                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.123 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $5,854.00
         Hoak Media                                                         Check all that apply.
                                                                            ❑ Contingent
         Attn: Randy Stone                                                  ❑ Unliquidated
                                                                            ❑ Disputed
         345 Hillcrest Manor
                                                                            Basis for the claim:
         Grand Junction, CO 81501                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $77.70
3.124                                                                       Check all that apply.
         Holy Cross Energy
                                                                            ❑ Contingent
         3799 CO-82                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Glenwood Springs, CO 81601-9349                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $19.17
3.125                                                                       Check all that apply.
         Holy Cross Energy - 500655400
                                                                            ❑ Contingent
         3799 Highway 82                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 2150
                                                                            Basis for the claim:
         Glenwood Springs, CO 81602                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes

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3.126 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $56.59
         Holy Cross Energy - 500922300                                       Check all that apply.
                                                                             ❑ Contingent
         3799 Highway 82                                                     ❑ Unliquidated
                                                                             ❑ Disputed
         PO Box 2150
                                                                             Basis for the claim:
         Glenwood Springs, CO 81602                                          Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Date or dates debt was incurred
                                                                             ❑ Yes
         Last 4 digits of account number        2   3   0     0

3.127 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $59.58
         Holy Cross Energy - 501016400                                       Check all that apply.
                                                                             ❑ Contingent
         3799 Highway 82                                                     ❑ Unliquidated
                                                                             ❑ Disputed
         PO Box 2150
                                                                             Basis for the claim:
         Glenwood Springs, CO 81602                                          Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Date or dates debt was incurred
                                                                             ❑ Yes
         Last 4 digits of account number        6   4   0     0

3.128 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:              $1,784.28
         Holy Cross Energy - 501024100                                       Check all that apply.
                                                                             ❑ Contingent
         3799 Highway 82                                                     ❑ Unliquidated
                                                                             ❑ Disputed
         PO Box 2150
                                                                             Basis for the claim:
         Glenwood Springs, CO 81602                                          Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Date or dates debt was incurred
                                                                             ❑ Yes
         Last 4 digits of account number        4   1   0     0

         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              unknown
3.129                                                                        Check all that apply.
         Holy Cross Energy - 501429300
                                                                             ❑ Contingent
         3799 Highway 82                                                     ❑ Unliquidated
                                                                             ❑ Disputed
         PO Box 2150
                                                                             Basis for the claim:
         Glenwood Springs, CO 81602                                          Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
         Date or dates debt was incurred
                                                                             ❑ Yes
         Last 4 digits of account number        9   3   0     0

         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:              $900.00
3.130                                                                        Check all that apply.
         Hurricane Electric Internet Services
                                                                             ❑ Contingent
         760 Mission Court                                                   ❑ Unliquidated
                                                                             ❑ Disputed
                                                                             Basis for the claim:
         Fremont, CA 94539                                                   Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred

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3.131 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $2,217.28
         iconectiv                                                            Check all that apply.
                                                                              ❑ Contingent
         dba - iconectiv                                                      ❑ Unliquidated
                                                                              ❑ Disputed
         Church Street Station
                                                                              Basis for the claim:
         New York, NY 10249                                                   Is the claim subject to offset?
                                                                              ✔ No
                                                                              ❑
         Date or dates debt was incurred
                                                                              ❑ Yes
         Last 4 digits of account number

3.132 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $2,209.00
         iconectiv                                                            Check all that apply.
                                                                              ❑ Contingent
         dba - iconectiv                                                      ❑ Unliquidated
                                                                              ❑ Disputed
         Church Street Station
                                                                              Basis for the claim:
         New York, NY 10249                                                   Is the claim subject to offset?
                                                                              ✔ No
                                                                              ❑
         Date or dates debt was incurred
                                                                              ❑ Yes
         Last 4 digits of account number

3.133 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $2,200.00
         Image Bearer Cleaning                                                Check all that apply.
                                                                              ❑ Contingent
         684 Bradford Dr                                                      ❑ Unliquidated
                                                                              ❑ Disputed
                                                                              Basis for the claim:
         Woodland Park, CO 80863                                              Is the claim subject to offset?
                                                                              ✔ No
                                                                              ❑
                                                                              ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $990.00
3.134                                                                         Check all that apply.
         Impact Telecom/Matrix Telcom LLC
                                                                              ❑ Contingent
         400 East Las Colinas Blvd., Suite 500                                ❑ Unliquidated
                                                                              ❑ Disputed
                                                                              Basis for the claim:
         Irving, TX 75039                                                     Is the claim subject to offset?
                                                                              ✔ No
                                                                              ❑
                                                                              ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number         E   +   1     1

         Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $20,407.92
3.135                                                                         Check all that apply.
         Insight Solutions Consulting LLC
                                                                              ❑ Contingent
         Unit K-2 110                                                         ❑ Unliquidated
                                                                              ❑ Disputed
                                                                              Basis for the claim:
         Westminster, CO 80021                                                Is the claim subject to offset?
                                                                              ✔ No
                                                                              ❑
                                                                              ❑ Yes
         Date or dates debt was incurred

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3.136 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $3,132.77
         Insite                                                             Check all that apply.
                                                                            ❑ Contingent
         1199 N. Fairfax Street #700                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Alexandria, VA 22314                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.137 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $36,792.29
         Inteliquent                                                        Check all that apply.
                                                                            ❑ Contingent
         9081 Paysphere Circle                                              ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60674-0090                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       8   3   9     1

3.138 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,960.00
         Intelpath                                                          Check all that apply.
                                                                            ❑ Contingent
         PO Box 145                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hinsdale, IL 60522                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $2,045.00
3.139                                                                       Check all that apply.
         Intelpath Co.
                                                                            ❑ Contingent
         PO Box 145                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hinsdale, IL 60522                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $764.02
3.140                                                                       Check all that apply.
         Interstate TRS Fund
                                                                            ❑ Contingent
         PO Box 62634                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Baltimore, MD 21264-2631                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.141 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $12,454.68
         Intrado Life and Safety Inc.                                       Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 74007077                                                  ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60674-7077                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       2   9   4     8

3.142 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $54.03
         IREA                                                               Check all that apply.
                                                                            ❑ Contingent
         PO Box 6437                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Carol Stream, IL 60197-6437                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.143 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $6,303.28
         ISP Supplies                                                       Check all that apply.
                                                                            ❑ Contingent
         10770 Hwy 30                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         College Station, TX 77845                                          Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $5,136.02
3.144                                                                       Check all that apply.
         ISPN
                                                                            ❑ Contingent
         14303 West 95th Street                                             ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Lenexa, KS 66215                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $200.00
3.145                                                                       Check all that apply.
         IX - West / IX - Denver
                                                                            ❑ Contingent
         4572 Cheyenne Dr                                                   ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Larkspur, CO 80118                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.146 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $872.29
         Jefferson County Treasurer                                         Check all that apply.
                                                                            ❑ Contingent
         County Treasurer                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         100 Jefferson County Parkway 2520
                                                                            Basis for the claim:
         Golden, CO 80419-2520                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.147 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $150.00
         Jerry G & Marcia C Browder                                         Check all that apply.
                                                                            ❑ Contingent
         504 Seville Rd                                                     ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denton, TX 76205                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.148 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,650.00
         John R. Murawski                                                   Check all that apply.
                                                                            ❑ Contingent
         1708 Ross Lane                                                     ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Jamison, PA 18929                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $350.00
3.149                                                                       Check all that apply.
         John Vomastic
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Manitou Springs, CO 80829
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $9,882.50
3.150                                                                       Check all that apply.
         Jones & Keller
                                                                            ❑ Contingent
         Suite 3150                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         1999 Broadway
                                                                            Basis for the claim:
         Denver, CO 80202                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number           D   L     B

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3.151 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $200.00
         Joseph Dohrn                                                       Check all that apply.
                                                                            ❑ Contingent
         1231 Charwest Dr                                                   ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Woodland Park, CO 80863                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.152 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $19,619.31
         Kaiser Permanente                                                  Check all that apply.
                                                                            ❑ Contingent
         PO BOX 711697                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denver, CO 80271-1697                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       #   #   #     #

3.153 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $600.00
         KDH Landscaping                                                    Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 1912                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Eagle, CO 81631                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $340.00
3.154                                                                       Check all that apply.
         Kelly, Patricia
                                                                            ❑ Contingent
         407 Saint Ida Cir                                                  ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Lafayette, CO 80026                                                Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $200.25
3.155                                                                       Check all that apply.
         Kevin Stewart
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Kellogg, ID 83837
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number       3   1   1     2              ❑ Yes

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3.156 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $750.00
         KOTO                                                               Check all that apply.
                                                                            ❑ Contingent
         San Miguel Educational Fund PO Box 1069 Telluride CO               ❑ Unliquidated
         81435 970-728-4334 970-728-4334                                    ❑ Disputed
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R     M

3.157 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $190.77
         La Plata County Clerk & Recorder                                   Check all that apply.
                                                                            ❑ Contingent
         % TIFFANY LEE PARKER                                               ❑ Unliquidated
                                                                            ❑ Disputed
         98 EVERETT STREET SUITE A
                                                                            Basis for the claim:
         DURANGO, CO 81303                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.158 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $670.17
         La Plata Electric Assocation Inc                                   Check all that apply.
                                                                            ❑ Contingent
         PO BOX 2750                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durango, CO 81302-2750                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,000.00
3.159                                                                       Check all that apply.
         Lance JM Steinhart P.C.
                                                                            ❑ Contingent
         1725 Windward Concourse Ste 150                                    ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Alpharetta, GA 30005                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $40,000.00
3.160                                                                       Check all that apply.
         LEAF 002
                                                                            ❑ Contingent
         PO Box 5066                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hartford, CT 06102-5066                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred
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3.161 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $75,000.00
         LEAF 003                                                           Check all that apply.
                                                                            ❑ Contingent
         PO Box 5066                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hartford, CT 06102-5066                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.162 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $8,531.44
         Lena Gulch Metro District                                          Check all that apply.
                                                                            ❑ Contingent
         1546 Cole Blvd #240                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Attn: Michelle Miley-Martin
                                                                            Basis for the claim:
         Lakewood, CO 80401                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number       T   C   O     M

3.163 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,000.00
         LetterHub.com                                                      Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Robbinsville Township, NJ 8691
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $300.00
3.164                                                                       Check all that apply.
         Louis & Patricia Goldman
                                                                            ❑ Contingent
         PO Box 81                                                          ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Cripple Creek, CO 80813                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $7,161.60
3.165                                                                       Check all that apply.
         Mammoth Networks
                                                                            ❑ Contingent
         PO Box 2799                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Gillette, WY 82717-2799                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       F   O   R E

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3.166 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,140.00
         Mammoth Networks                                                   Check all that apply.
                                                                            ❑ Contingent
         PO Box 2799                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Gillette, WY 82717-2799                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.167 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $50.00
         Mass, Wayne                                                        Check all that apply.
                                                                            ❑ Contingent
         71 N. EAGLE VIEW DR                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         DURANGO, CO 81303-6686                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       T   O   R     M

3.168 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,392.77
         Massive Networks                                                   Check all that apply.
                                                                            ❑ Contingent
         PO Box 270059                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Louisville, CO 80027                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $180,000.00
3.169                                                                       Check all that apply.
         Merle Jo Crandall
                                                                            ❑ Contingent
         PO Box 99                                                          ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Pinedale, WY 82941                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $480.00
3.170                                                                       Check all that apply.
         Meshcasting
                                                                            ❑ Contingent
         2590 Walnut Street                                                 ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denver, CO 80205                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.171 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $42,454.50
         Metaswitch Networks                                                Check all that apply.
                                                                            ❑ Contingent
         11600 Sunrise Valley Drive                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Suite 380
                                                                            Basis for the claim:
         Reston, VA 20191                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.172 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $537.38
         Mid America Computer Corp (MACC)                                   Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 700                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Blair, NE 68008                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.173 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $8,806.05
         Mid America Computer Corporation                                   Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 700                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Blair, NE 68008                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,750.00
3.174                                                                       Check all that apply.
         MobiTV Inc.
                                                                            ❑ Contingent
         1900 Powell Street #900                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Emeryville, CA 94608                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $0.00
3.175                                                                       Check all that apply.
         Neal Stelting - Merle Joe Crandall
                                                                            ❑ Contingent
         145 E Pine St, 2nd Floor                                           ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 2433
                                                                            Basis for the claim:
         Pinedale, WY 82941                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes

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3.176 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $165.00
         NECA                                                               Check all that apply.
                                                                            ❑ Contingent
         PO Box 2003                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hicksville, NY 11802                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.177 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $599.00
         NENA                                                               Check all that apply.
                                                                            ❑ Contingent
         PO Box 37151                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Baltimore, MD 21297-3151                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.178 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,425.76
         Neustar                                                            Check all that apply.
                                                                            ❑ Contingent
         Bank of America                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 403034
                                                                            Basis for the claim:
         Atlanta, GA 30384-3034                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $177.73
3.179                                                                       Check all that apply.
         Neustar, Inc.
                                                                            ❑ Contingent
         Bank of America                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 403034
                                                                            Basis for the claim:
         Atlanta, GA 30384-3034                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $362.94
3.180                                                                       Check all that apply.
         Novacomm LLC
                                                                            ❑ Contingent
         PO Box 9429                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Avon, CO 81620                                                     Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.181 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,594.04
         Onvoy - 001556385491                                               Check all that apply.
                                                                            ❑ Contingent
         9081 Paysphere Circle                                              ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60674-0090                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.182 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $57.38
         Onvoy - 001556422325                                               Check all that apply.
                                                                            ❑ Contingent
         9081 Paysphere Circle                                              ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60674-0090                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.183 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,290.00
         Orkin                                                              Check all that apply.
                                                                            ❑ Contingent
         PO Box 7161                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Pasadena, CA 91109-7161                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $515.00
3.184                                                                       Check all that apply.
         P & L Properties
                                                                            ❑ Contingent
         Dena Carpenter                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         101 3rd Street, Suite 360
                                                                            Basis for the claim:
         Grand Junction, CO 81501                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number       T   O   R     M

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,648.98
3.185                                                                       Check all that apply.
         packetfabric
                                                                            ❑ Contingent
         9920 Jefferson Blvd                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Culver City, CA 90232                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.186 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $100.00
         Parker, Steve                                                      Check all that apply.
                                                                            ❑ Contingent
         P.O. Box 618                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Azle, TX 76098                                                     Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.187 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $265.00
         Pinnacol assurance servcie hub                                     Check all that apply.
                                                                            ❑ Contingent
         7501 E Lowery Blvd                                                 ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denver, CO 80230                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.188 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $832.08
         Rackspace                                                          Check all that apply.
                                                                            ❑ Contingent
         1 Fanatical Place City of Windcrest                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         San Antonio, TX 78218                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $15,000.00
3.189                                                                       Check all that apply.
         Reel Axis
                                                                            ❑ Contingent
         1902 Wright Pl                                                     ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Carlsbad, CA 92008                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $259.90
3.190                                                                       Check all that apply.
         Region 10
                                                                            ❑ Contingent
         145 S Cascade Ave                                                  ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Montrose, CO 81401                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.191 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $4,523.44
         RMTT                                                               Check all that apply.
                                                                            ❑ Contingent
         2525 Arapahoe Ave. #E4-184                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Boulder, CO 80302                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.192 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,000.00
         Rocky Mountain Broadband LLC-Auto                                  Check all that apply.
                                                                            ❑ Contingent
         2B Heritage Village                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Southbury, CT 6488                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.193 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $18.35
         san juan copy                                                      Check all that apply.
                                                                            ❑ Contingent
         434 Turner Drive 2B                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durnago, CO 81303                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $9.79
3.194                                                                       Check all that apply.
         San Miguel Power Assn - 41345
                                                                            ❑ Contingent
         PO BOX 817                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         NUCLA, CO 81424-0817                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1.95
3.195                                                                       Check all that apply.
         San Miguel Power Assn Auto - 34401
                                                                            ❑ Contingent
         PO BOX 817                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         NUCLA, CO 81424-0817                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.196 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $583.00
         San Miguel Power Assn Auto - 35                                    Check all that apply.
                                                                            ❑ Contingent
         PO BOX 817                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         NUCLA, CO 81424-0817                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.197 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $230.00
         Sanders, Cody                                                      Check all that apply.
                                                                            ❑ Contingent
         12191 County Road 120                                              ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Hesperus, CO 81326                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.198 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $6,555.29
         SBA Towers                                                         Check all that apply.
                                                                            ❑ Contingent
         Attn Accounts Receivable                                           ❑ Unliquidated
                                                                            ❑ Disputed
         P.O. Box 933730
                                                                            Basis for the claim:
         Atlanta, GA 31193-3730                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $275.02
3.199                                                                       Check all that apply.
         SHC Landscape co
                                                                            ❑ Contingent
         PO BOX 2049                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Eagle, CO 81631                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,445.56
3.200                                                                       Check all that apply.
         Sherman, Laura
                                                                            ❑ Contingent
         P.O. Box 591                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Norwood, CO 81423                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.201 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,621.60
         Siklu Inc.                                                         Check all that apply.
                                                                            ❑ Contingent
         Mizrahi Tefahot Bank LTD                                           ❑ Unliquidated
                                                                            ❑ Disputed
         800 WIlshire Blvd. #1410
                                                                            Basis for the claim:
         Los Angeles, CA 90017                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.202 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $83.41
         Southwest Mobil Storage Inc                                        Check all that apply.
                                                                            ❑ Contingent
         1005 N 50th Street                                                 ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Phoenix, AZ 85008                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.203 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $6,017.22
         SpectraSite Communications                                         Check all that apply.
                                                                            ❑ Contingent
         29641 Network Place                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60673-1296                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $6,550.05
3.204                                                                       Check all that apply.
         Spring Creek Cable
                                                                            ❑ Contingent
         PO BOX 2027                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Montrose, CO 81402                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $97.98
3.205                                                                       Check all that apply.
         Springs Mountain Water
                                                                            ❑ Contingent
         123 Winters Drive                                                  ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Colorado Springs, CO 80907                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.206 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $340.00
         St. Ours, Thomas                                                   Check all that apply.
                                                                            ❑ Contingent
         PO Box 409                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         DURANGO, CO 81302-0409                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.207 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $35.00
         Steven King                                                        Check all that apply.
                                                                            ❑ Contingent
         180 Ellsworth St                                                   ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Colorado Springs, CO 80906                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.208 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $6,825.00
         Strata Data Center                                                 Check all that apply.
                                                                            ❑ Contingent
         PO Box 400                                                         ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Roosevelt, UT 84066                                                Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,488.00
3.209                                                                       Check all that apply.
         SWCCOG
                                                                            ❑ Contingent
         Ste B                                                              ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Durango, CO 81303                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       u   g   h     t

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $5,647.92
3.210                                                                       Check all that apply.
         Telco Systems
                                                                            ❑ Contingent
         15 Berkshire Road                                                  ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Mansfield, MA 2048                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.211 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $2,527.95
         Telecom Professionals                                              Check all that apply.
                                                                            ❑ Contingent
         PO Box 720128                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Oklahoma City, OK 73172-0128                                       Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.212 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $5,883.81
         Telecom Professionals, Inc.                                        Check all that apply.
                                                                            ❑ Contingent
         1725 Windward Concourse Ste 150                                    ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Alpharetta, GA 30005                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.213 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,348.15
         Telecom Surplus Resources, Inc.                                    Check all that apply.
                                                                            ❑ Contingent
         Suite 3H                                                           ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Denver, CO 80223                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $775.00
3.214                                                                       Check all that apply.
         Temp Fence USA
                                                                            ❑ Contingent
         Unit B                                                             ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Colorado Springs, CO 80907                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $10.02
3.215                                                                       Check all that apply.
         Tower Distribution Company
                                                                            ❑ Contingent
         Accounts Receivable                                                ❑ Unliquidated
                                                                            ❑ Disputed
         5980 Collection Center Drive
                                                                            Basis for the claim:
         Chicago, IL 60693                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes

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3.216 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $46,000.00
         Town of Eagle                                                      Check all that apply.
                                                                            ❑ Contingent
         200 Broadway                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 609
                                                                            Basis for the claim:
         Eagle, CO 81631                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.217 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $520.00
         Town Of Eagle - Lease                                              Check all that apply.
                                                                            ❑ Contingent
         200 Broadway                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         PO Box 609
                                                                            Basis for the claim:
         Eagle, CO 81631                                                    Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.218 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $500.00
         Town Of Mountain Village                                           Check all that apply.
                                                                            ❑ Contingent
         Finance Department                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         455 Mountain Village Blvd. #A
                                                                            Basis for the claim:
         Mountain Village, CO 81435                                         Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $4,181.06
3.219                                                                       Check all that apply.
         Town Of Red Cliff.
                                                                            ❑ Contingent
         P.O. Box 40                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Red Cliff, CO 81649-0040                                           Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $14,984.34
3.220                                                                       Check all that apply.
         Transaction Network Services
                                                                            ❑ Contingent
         15847 Collection Center Drive                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60696                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.221 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $32,580.82
         Transaction Network Services Inc                                   Check all that apply.
                                                                            ❑ Contingent
         15847 Collection Center Drive                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Chicago, IL 60696                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.222 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $111.25
         U.S. Cleaning Professionals, Inc                                   Check all that apply.
                                                                            ❑ Contingent
         PO Box 1285                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Dillon, CO 80435                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.223 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $7,677.04
         United Healthcare                                                  Check all that apply.
                                                                            ❑ Contingent
         PO Box 94017                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Palatine, IL 60094-0151                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,997.08
3.224                                                                       Check all that apply.
         United States Department of the Interior
                                                                            ❑ Contingent
         1849 C St Nw                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Washington, DC 20240-0001
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $33.66
3.225                                                                       Check all that apply.
         UPS
                                                                            ❑ Contingent
         PO Box 650116                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Dallas, TX 75265-0116                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

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3.226 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $16,707.45
         USIC Locating Services, LLC                                        Check all that apply.
                                                                            ❑ Contingent
         PO Box 713359                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Cincinnati, OH 45271                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.227 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $10,560.53
         USIC Locating Services, LLC                                        Check all that apply.
                                                                            ❑ Contingent
         PO Box 713359                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Cincinnati, OH 45271                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.228 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $154.16
         Ute Pass Concrete-Sand & Gravel                                    Check all that apply.
                                                                            ❑ Contingent
         20575 Highway 24                                                   ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Woodland Park, CO 80863                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       r   n   e     t

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $6,666.35
3.229                                                                       Check all that apply.
         Verizon
                                                                            ❑ Contingent
         PO BOX 15043                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Albany , NY 12212-5043                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $16,379.27
3.230                                                                       Check all that apply.
         Vero FIber Networks, LLC
                                                                            ❑ Contingent
         1023 Walnut St                                                     ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Boulder, CO 80306                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 53 of 57
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Debtor       Futurum Communications Corporation                                                               Case number (if known)
            Name




 Part 2: Additional Page

3.231 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $1,349.24
         Vertiv                                                             Check all that apply.
                                                                            ❑ Contingent
         1050 Dearborn Drive                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Columbus, OH 43085                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.232 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $750.00
         VETRO FiberMap                                                     Check all that apply.
                                                                            ❑ Contingent
         80 Congress Street Third Floor                                     ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Portland, ME 4101                                                  Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.233 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $46.35
         viiz Communications Inc                                            Check all that apply.
                                                                            ❑ Contingent
         PO Box 734602                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Dallas, TX 75373-4602                                              Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       2   4   6     0

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $410.57
3.234                                                                       Check all that apply.
         VRE Towers LLC
                                                                            ❑ Contingent
         1418 Bradley Avenue                                                ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Cheyenne, WY 82001                                                 Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $6,491.75
3.235                                                                       Check all that apply.
         WAV Inc
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Aurora, IL 60502
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                       page 54 of 57
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Debtor       Futurum Communications Corporation                                                               Case number (if known)
            Name




 Part 2: Additional Page

3.236 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $38.33
         Wells Fargo Credit Card                                            Check all that apply.
                                                                            ❑ Contingent
         PO Box 10347                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Des Moines, IA 50306-0347                                          Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.237 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $48,435.00
         Wells Fargo LOC (Auto)                                             Check all that apply.
                                                                            ❑ Contingent
         PO Box 29482                                                       ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Phoenix, AZ 85038-8650                                             Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number       5   0   4     8

3.238 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $3,090.27
         Werks Auto & Diesel Repair, LLC                                    Check all that apply.
                                                                            ❑ Contingent
         PO Box 2219                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Gypsum, CO 81637                                                   Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $399.48
3.239                                                                       Check all that apply.
         Western Peaks Logistics
                                                                            ❑ Contingent
         PO Box 150147                                                      ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Ogden, UT 84415-0147                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
3.240                                                                       Check all that apply.
         Western Slope Beverage
                                                                            ❑ Contingent
         PO Box 3779                                                        ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
         Eagle, CO 81631-3779                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 55 of 57
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Debtor       Futurum Communications Corporation                                                            Case number (if known)
            Name




 Part 2: Additional Page

3.241 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $998.33
         Western Slope Communications, LLC                               Check all that apply.
                                                                         ❑ Contingent
         Attn:General Manager                                            ❑ Unliquidated
                                                                         ❑ Disputed
         751 Horizon Court Suite 225
                                                                         Basis for the claim:
         Grand Junction, CO 81506                                        Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
         Date or dates debt was incurred
                                                                         ❑ Yes
         Last 4 digits of account number

3.242 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,030.00
         Wisner, Jaime                                                   Check all that apply.
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         Durango, CO 81301
                                                                         Basis for the claim:
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred                                 ✔ No
                                                                         ❑
         Last 4 digits of account number                                 ❑ Yes
3.243 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $175,641.00
         Zayo 4566                                                       Check all that apply.
                                                                         ❑ Contingent
         PO Box 952136                                                   ❑ Unliquidated
                                                                         ❑ Disputed
                                                                         Basis for the claim:
         Dallas, TX 75395-2136                                           Is the claim subject to offset?
                                                                         ✔ No
                                                                         ❑
                                                                         ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page 56 of 57
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Debtor       Futurum Communications Corporation                                                       Case number (if known)
             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $170,147.08




  5b. Total claims from Part 2                                                        5b.              $2,439,051.39
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $2,609,198.47
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 57 of 57
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 Fill in this information to identify the case:

 Debtor name                       Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                          Chapter   11                                                           ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Office Lease                                 Galt's Gulch
2.1     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       2347 Curtis St.

        State the term remaining                                                               Denver, CO 80205
                                                  0 months
        List the contract number of any
        government contract

        State what the contract or lease is       Office Lease                                 Luchies/Chaparrel
2.2     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       Po Box 3424

        State the term remaining                                                               Durango, CO 81302-3424
                                                  21 months
        List the contract number of any
        government contract

        State what the contract or lease is       Office :ease                                 FHC Properties LLC
2.3     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED
        State the term remaining                  55 months                                    Woodland Park, CO 80863

        List the contract number of any
        government contract

        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
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 Fill in this information to identify the case:

 Debtor name                       Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ✔No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1
                                                  Street




                                                  City                                State         ZIP Code



  2.2
                                                  Street




                                                  City                                State         ZIP Code



  2.3
                                                  Street




                                                  City                                State         ZIP Code



  2.4
                                                  Street




                                                  City                                State         ZIP Code



  2.5
                                                  Street




                                                  City                                State         ZIP Code




Official Form 206H                                                         Schedule H: Codebtors                                                              page 1 of 2
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Debtor      Futurum Communications Corporation                                                           Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                       Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                                                                                                    ❑Check if this is an
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         ❑      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑      Schedule H: Codebtors (Official Form 206H)

         ❑      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑      Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on 03/22/2021
                          MM/ DD/ YYYY
                                                                                ✘ /s/ Jawaid Bazyar
                                                                                      Signature of individual signing on behalf of debtor


                                                                                      Jawaid Bazyar
                                                                                      Printed name


                                                                                      President
                                                                                      Position or relationship to debtor




Official Form B202                                      Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                       Futurum Communications Corporation

 United States Bankruptcy Court for the:
                                      District of Colorado


 Case number (if known):                                                                                                                      ❑Check if this is an
                                                                                                                                                  amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                                 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete                 Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code           and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                  creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                                  professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                                  services, and           or disputed      setoff to calculate unsecured claim.
                                                                                  government                               Total claim, if     Deduction for        Unsecured
                                                                                  contracts)                               partially           value of             claim
                                                                                                                           secured             collateral or
                                                                                                                                               setoff
1     American Express                            800-492-3344                                                                                                            $52,049.08
      PO Box 650448
      Dallas, TX 75265-0448


2     Calix                                       408-601-4074                                                                                                            $25,380.38
      PO Box 843163
      Dallas, TX 75284-3163


3     CenturyLink                                 800.335.5672 ext 5290                                                                                                  $540,000.00
      CenturyLink - Access Billing
      CABS 2 Tower South
      Monroe, LA 71211-4648

4     Centurylink 5-YBSMFPDM-A                    800.335.5672 ext 5290                                                                                                   $25,844.06
      CenturyLink - Access Billing
      CABS 2 Tower South
      Monroe, LA 71211-4648

5     Colorado West Broadcasting                                                                                                                                          $25,536.11
      3230-B South Glen Ave
      Glennwood Springs, CO 81601


6     Comcast Technology Solutions-DIA                                                                                                                                    $48,529.00
      13431 Collections Center Drive
      Chicago, IL 60693


7     Commissions -BS -eTech                      (970) 708-1109                                                                                                          $34,928.75
      Broadband, LLC
      Ken Olson
      Norwood, CO 81423

8     Commissions-Rocky Mountain Tech             303-775-3680                                                                                                            $31,322.06
      Team
      2525 Arapahoe Ave Unit E-4-184
      Boulder, CO 80302



Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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Debtor       Futurum Communications Corporation                                                                Case number (if known)
            Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                          creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                          professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                          services, and           or disputed      setoff to calculate unsecured claim.
                                                                          government                               Total claim, if     Deduction for        Unsecured
                                                                          contracts)                               partially           value of             claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff
9     DB Tech Inc.                        (505) 330-9612                                                                                                          $80,511.70
      Suite E
      Bloomfield, NM 87413


10 ExteNet Systems Inc                    630-505-3800                                                                                                            $82,817.44
   3030 Warrenville Rd Ste 340
   Lisle, IL 60532


11 FastTrack Communications               (970) 828-1004                                                                                                          $32,839.86
   Ste 200
   Durango, CO 81301


12 Inteliquent                            312-384-8078                                                                                                            $36,792.29
   9081 Paysphere Circle
   Chicago, IL 60674-0090


13 LEAF 002                               866-219-7924                                                                                                            $40,000.00
   PO Box 5066
   Hartford, CT 06102-5066


14 LEAF 003                               866-219-7924                                                                                                            $75,000.00
   PO Box 5066
   Hartford, CT 06102-5066


15 Merle Jo Crandall                      307-367-2623                                                                                                           $180,000.00
   PO Box 99
   Pinedale, WY 82941


16 Metaswitch Networks                    703.480.0500                                                                                                            $42,454.50
   11600 Sunrise Valley Drive
   Suite 380
   Reston, VA 20191

17 Town of Eagle                                                                                                                                                  $46,000.00
   200 Broadway
   PO Box 609
   Eagle, CO 81631

18 Transaction Network Services Inc       (866) 421-6984                                                                                                          $32,580.82
   15847 Collection Center Drive
   Chicago, IL 60696


19 Wells Fargo LOC (Auto)                 800-225-5935                                                                                                            $48,435.00
   PO Box 29482
   Phoenix, AZ 85038-8650


20 Zayo 4566                              (800)390-6094                                                                                                          $175,641.00
   PO Box 952136
   Dallas, TX 75395-2136



Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                             DISTRICT OF COLORADO
                                                                DENVER DIVISION

IN RE: Futurum Communications Corporation                                                   CASE NO

                                                                                            CHAPTER 11




                                                     VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/22/2021              Signature                                     /s/ Jawaid Bazyar
                                                                              Jawaid Bazyar, President
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                              A1 Fiber Optics, LLC
                              Suite 400-348
                              Grand Junction, CO 81505




                              Ally
                              PO Box 380902
                              Bloomington, MN 55438-0902




                              Altec Capital
                              33 Inverness Center Pkwy
                              Suite 200
                              Birmingham, AL 35242



                              American Express
                              PO Box 650448
                              Dallas, TX 75265-0448




                              American Tower
                              29637 Network Place
                              Chicago, IL 60673-1296




                              Andrew Wommack Ministries
                              1 Innovation Way Ste B
                              Woodland Park, CO 80863




                              APEX Security
                              410 SW COLUMBIA STREET
                              Ste 120
                              Bend, OR 97702



                              APEX Security Fire Alarm
                              410 SW COLUMBIA STREET
                              Ste 120
                              Bend, OR 97702
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                              Arapahoe County Treasurer
                              5334 S Prince St
                              Littleton, CO 80120-1136




                              ARIN
                              PO Box 759477
                              Baltimore, MD 21275-9477




                              ATL Communications
                              2700 NE 4th St, Ste 240
                              Bend, OR 97701




                              Aubrey Shomo-1099
                              1550 Larimer St. PMB 255
                              Denver, CO 80202




                              Avalara
                              P.O. Box 122397
                              Dallas, TX 75312-2397




                              Aztec,City of(Tower Rental)
                              201 W Chaco
                              Aztec, NM 87410




                              Balboa Capital
                              575 Anton Blvd
                              12th Floor
                              Costa Mesa, CA 92626



                              Bandwidth.com, Inc
                              PO Box 715382
                              Cincinnati, OH 45271-5382
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                              Bank of America
                              PO Box 982238
                              El Paso, TX 79998-2238




                              Banner Life Insurance
                              Company
                              3275 Bennett Breek Ave
                              Frederick, MD 21704-7608



                              BLM
                              PO Box 25047
                              OC-371
                              Denver, CO 80225-0047



                              BNP Paribas
                              787 Seventh Avenue
                              New York, NY 10019




                              Boulder County Assessors
                              Office
                              Attn: Paul Weissmann
                              P.O. Box 471
                              Boulder, CO 80306


                              Bulk Solutions LLC
                              5 Piccadilly Rd
                              Great Neck, NY 11023




                              Calix
                              PO Box 843163
                              Dallas, TX 75284-3163




                              Calix Inc
                              PO Box 843163
                              Dallas, TX 75284-3163
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                              CenturyLink
                              CenturyLink - Access Billing
                              CABS 2 Tower South
                              Monroe, LA 71211-4648



                              Centurylink 5-YBSMFPDM-A
                              CenturyLink - Access Billing
                              CABS 2 Tower South
                              Monroe, LA 71211-4648



                              CenturyLink 7196874325074B
                              PO Box 91155
                              Seattle, WA 98111-9255




                              CenturyLink 7196879071465B
                              PO Box 91155
                              Seattle, WA 98111-9255




                              CenturyLink 86983290
                              PO Box 52187
                              Phoenix, AZ 85072-2187




                              CenturyLink
                              K3031111174174M
                              PO Box 91155
                              Seattle, WA 98111-9255



                              CenturyLink
                              K7196870326463M
                              PO Box 91155
                              Seattle, WA 98111-9255



                              CenturyLink
                              K7196870329072M
                              PO Box 91155
                              Seattle, WA 98111-9255
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                              CenturyLink-Lexcis
                              LEXCIS
                              PO Box 2348
                              Seattle, WA 98111



                              Charles N. Nichols
                              P.O. Box 85
                              Molina, CO 81646




                              Chase Card
                              PO Box 6294
                              Carol Stream, IL 60197-6294




                              Christine Taylor
                              15333 Heritage circle
                              Thornton, CO 80602




                              Circle Z Construction
                              PO Box 625
                              Mancos, CO 81328




                              CIT 907-0005919-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0005955-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006027-000
                              PO Box 100706
                              Pasadena, CA 91189-0706
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                              CIT 907-0006105-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006108-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006156-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006190-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              Citi Cards
                              6716 Grade Lane
                              Building 9, Suite 910
                              Louisville, KY 40213



                              CitiCards
                              PO Box 6235
                              Sioux Falls, SD 57117-6235




                              City and county of Denver
                              PO BOX 650781
                              Dallas, TX 75265-0781




                              City and County of Denver
                              Department of Finance
                              Treasury divison
                              PO BOX 660860
                              201 W Colfax Ave
                              Denver, CO 80202-5329
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                              City of Aurora
                              PO BOX 913200
                              Denver, CO 80291-3200




                              City Of Cortez
                              123 Roger Smith Ave
                              Cortez, CO 81321




                              city of durango
                              949 E 2nd Ave
                              Durango, CO 81301




                              City of Englewood
                              1000 Engelwood Parkway
                              Englewood, CO 80110-2373




                              City of Farmington
                              101 N Browning PKWY
                              Farmington, NM 87401-7995




                              Clearnetworx - 105010
                              PO Box 1809
                              Montrose, CO 81402




                              Clearnetworx - 106522
                              PO Box 1809
                              Montrose, CO 81402




                              CO Department of Labor and
                              Employment
                              PO BOX 400
                              Denver , CO 80201-0400
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                              CO Department of Revenue
                              Denver, CO 802610004




                              Collegiate Peaks Bank
                              885 S Colorado Blvd
                              Denver, CO 80246




                              Colorado Department of
                              Revenue
                              Denver, CO 80261-0004




                              Colorado Division of Labor
                              633 17th St Ste 201
                              Denver, CO 80202-3624




                              Colorado Hi-Tek
                              Ste 292
                              Gillette, WY 82716




                              Colorado Parks and Wildlife
                              P.O. Box 173923
                              Denver, CO 80217
                              Denver, CO 80217



                              Colorado West Broadcasting
                              3230-B South Glen Ave
                              Glennwood Springs, CO 81601




                              Comcast - Enterprise
                              PO Box 37601
                              Philadelphia, PA 19101
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                              Comcast Business-ETH
                              PO Box 37601
                              Philapephia, PA 19104-0601




                              Comcast Technology
                              Solutions-DIA
                              13431 Collections Center Drive
                              Chicago, IL 60693



                              Commissions -BS -eTech
                              Broadband, LLC
                              Ken Olson
                              Norwood, CO 81423



                              Commissions-All Mountain
                              Technologies
                              27 Main Street, Suite 200
                              Edwards, CO 81632



                              Commissions-Allen IT
                              5700 Washington St.
                              Denver, CO 80216




                              Commissions-Anchor Network
                              Solutions
                              9233 Park Meadows Drive
                              LoneTree, CO 80124



                              Commissions-Automation
                              Concepts Co
                              1250 Bergen Pkwy
                              Ste B100
                              Evergreen, CO 80439


                              Commissions-Brooktrout
                              Telecom
                              2751 E Linvale Pl
                              Denver, CO 80210
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                              Commissions-CommWest
                              302 South Ave
                              Grand Junction, CO 81501




                              Commissions-Confitel, LLC
                              William Kendrick
                              2253 Madison Dr.
                              Erie, CO 80516



                              Commissions-CTG3, LLC
                              1232 250th Ave NE
                              Redmond, WA 98074




                              Commissions-Decypher
                              Technologies
                              2700 Gilstrap Court
                              Ste 220
                              Glenwood Springs, CO 81601


                              Commissions-High Plains
                              Computer Services
                              2841 Penstemon Way
                              Castle Rock, CO 80109



                              Commissions-IQWired Inc.
                              PO Box 460099
                              Denver, CO 80246




                              Commissions-Liberty
                              Communications
                              510 Compton
                              Ste 101
                              Broomfield, CO 80020


                              Commissions-McGowan
                              Consulting
                              288 28 Rd
                              Grand Junction, CO 81503
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                              Commissions-Mile High PC
                              Solutions
                              10153 Scenic Ct
                              Firestone, CO 80504



                              Commissions-MITech
                              276 S Tucson Circle
                              Aurora, CO 80012




                              Commissions-NCS
                              200 W Main St
                              Farmington, NM 87401




                              Commissions-Optimal
                              Telecom Solutions
                              1925 Dominion way #101
                              Colorado Springs, CO 80918



                              Commissions-Pegasus
                              Communications
                              P.O. Box 440636
                              Aurora, CO 80044



                              Commissions-Pipertel
                              Communications, LLC
                              PO Box 987
                              Evergreen, CO 80437



                              Commissions-PJV Consulting
                              2501 Locust St
                              Denver, CO 80207




                              Commissions-Radix
                              Tech-CybertekSystems
                              c/o Believe Ventures
                              965 S 1st Street, Unit F110
                              Bennett, CO 80102
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                              Commissions-RealCom
                              Solutions
                              Attn: Charlie Bogart
                              5713 Headquarters Dr
                              Plano, TX 75024


                              Commissions-Rocky Mountain
                              Tech Team
                              2525 Arapahoe Ave Unit E-4-184
                              Boulder, CO 80302



                              Commissions-Telecom
                              Efficient
                              4610 S Ulster St
                              Ste 150
                              Denver, CO 80237


                              Commissions-Telecom
                              National
                              1794 Boulder Moutain Rd
                              St George, UT 84790



                              Commissions-Total Solutions
                              454 Las Gallinas Ave, Ste 150
                              San Rafael, CA 94903




                              Commissions-Turnkey
                              Telecom
                              6586 S Xenon St
                              Littleton, CO 80127



                              Commissions-Twisted Pair
                              Twisted Pair NM, LLC
                              406 McDonald Rd
                              Farmington, NM 87401



                              Commissions-Walnut Telecom
                              Group
                              865 S. Cove Way
                              Denver, CO 80209
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                              Commnet Atlantic
                              Tele-Network
                              Attn: Accounts Receivable
                              400 Northridge Pkwy, Suite 325
                              Atlanta, GA 30350


                              Community banks
                              PO Box 26526
                              Kansas CIty, MO 64196




                              Community Banks of Colorado
                              19 N Tejon St Ste 100
                              Colorado Springs, CO 80903




                              Consara Financing
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              Consolidated Call Center
                              Services
                              dba Consolidated CCS
                              PO Box 861
                              Mattoon, IL 61938-0861


                              CoreSite Services, Inc.
                              PO Box 74338
                              Cleveland, OH 44194-4338




                              Daniel J Culhane LLC
                              1600 Broadway
                              Suite 1400
                              Denver, CO 80202



                              Data102
                              Suite 220
                              Colorado Springs, CO 80903
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                              Davis Graham & Stubbs
                              Suite 500
                              Denver, CO 80202




                              DB Tech Inc.
                              Suite E
                              Bloomfield, NM 87413




                              Dell Financial Services-
                              001-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              002-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              003-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              004-AUTO
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Delta Dental of Colorado
                              PO Box 912148
                              Denver, CO 80291-2148




                              Denver Fire Prevention
                              Division
                              Attn: Permits
                              P.O. Box 733422
                              Dallas, TX 75373-3422
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                              Denver Gas & Electric - DGEB
                              Meet Me Room
                              910 15th St, Ste 1050
                              Denver, CO 80202



                              Department of Treasury IRS
                              Ogden, UT 842010030




                              Department of Treasury IRS
                              CP504B
                              185 Little Park Road
                              Grand Junction, CO 81507



                              Direct Capital / CIT
                              PO Box 7056
                              Pasadena, CA 91109-9699




                              Ditch Witch of the Rockies
                              9000N I-35 Svc Rd
                              Oklahoma City, OK 73131




                              Division Of Property Taxation
                              1313 N Sherman St Ste 419
                              Denver, CO 80203-2242




                              Douglas Wagner
                              P.O. Box 2457
                              Monument, CO 80132




                              DPE, LLC - GJISP - 2nd
                              Palisade
                              575 South Westgate Drive
                              Unit A
                              Grand Junction, CO 81505
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                              DPE, LLC - Palisade & Gray
                              Head
                              575 South Westgate Drive
                              Unit A
                              Grand Junction, CO 81505


                              Eagle County
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479



                              Eagle County - Property Tax
                              thru 2018
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479


                              Eagle County Treasurer
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479



                              Edgeconnex
                              Suite 400
                              Herndon, VA 20171




                              EXPRESSTOLL
                              22470 E Stephen D. Hogan Parkway
                              #110
                              Aurora, CO 80018



                              ExteNet Systems Inc
                              3030 Warrenville Rd Ste 340
                              Lisle, IL 60532




                              Farmington, City of
                              (Licensing)
                              800 Municipal Dr
                              Farmington, NM 87401-2663
Case:21-11331-KHT Doc#:1 Filed:03/21/21      Entered:03/21/21 23:48:28 Page105 of 161


                              Fast-Break Auto Glass
                              PO Box 3000-228
                              Edwards, CO 81632




                              FastTrack Communications
                              Ste 200
                              Durango, CO 81301




                              FCC Unicesal service
                              administrative Co
                              PO BOX 47607
                              Baltimore , MD 21244



                              FHC Properties LLC
                              Woodland Park, CO 80863




                              Fiber Optic Supply
                              2171 S. Trenton Way
                              Denver, CO 80231-5359




                              Four States Communications
                              909 E Murray Dr
                              FARMINGTON, NM 87401




                              Galt's Gulch
                              2347 Curtis St.
                              Denver, CO 80205




                              Gary Mills
                              PO Box 83
                              Florrisant, CO 80816
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                              Glenwood Caverns Adventure
                              Park
                              51000 Two Rivers Plaza Rd
                              Glenwood Springs, CO 81601



                              Gomerdinger & Associates
                              LLC
                              Suite 1300
                              Greenwood Village, CO 80111



                              Grand Valley Power - 1200
                              PO Box 190
                              Grand Junction, CO 81502




                              Grand Valley Power-1301
                              48RD (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-2101
                              44RD (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-3010
                              Store (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-7102
                              Trnsmttr (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley
                              Telecommunications
                              123 North 7th St, #120
                              Grand Junction, CO 81501
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                              Graybar
                              File 57072
                              Los Angeles, CA 90074-7072




                              Graybar Electric
                              480 E 55TH AVE
                              UNIT 500
                              denver, CO 80216-1762



                              GVNW Consulting
                              2211 N Minnesota St
                              Mitchell, SD 57301




                              GW Highlander, LLC
                              511 Butte Circle
                              Durango, CO 81301




                              H5 Data Centers
                              9320 Wilshire Boulevard
                              #300
                              Beverly Hills, CA 90212



                              Hanover Insurance Company
                              (Auto)
                              PO Box 15083
                              Worcester, MA 01615-0083



                              Hercules Storage Containers
                              281 S Skylane Dr unit c
                              Durango, CO 81303




                              High Mtn Messenger LLC
                              dbaThe Mtn Jackpot
                              dba The Mountain Jackpot
                              PO Box 116
                              Woodland Park, CO 80866
Case:21-11331-KHT Doc#:1 Filed:03/21/21     Entered:03/21/21 23:48:28 Page108 of 161


                              Hoak Media
                              Attn: Randy Stone
                              345 Hillcrest Manor
                              Grand Junction, CO 81501



                              Holy Cross Energy
                              3799 CO-82
                              Glenwood Springs, CO 81601-9349




                              Holy Cross Energy -
                              500655400
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              500922300
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501016400
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501024100
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501429300
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Hurricane Electric Internet
                              Services
                              760 Mission Court
                              Fremont, CA 94539
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                              iconectiv
                              dba - iconectiv
                              Church Street Station
                              New York, NY 10249



                              Image Bearer Cleaning
                              684 Bradford Dr
                              Woodland Park, CO 80863




                              Impact Telecom/Matrix
                              Telcom LLC
                              400 East Las Colinas Blvd., Suite 500
                              Irving, TX 75039



                              Insight Solutions Consulting
                              LLC
                              Unit K-2 110
                              Westminster, CO 80021



                              Insite
                              1199 N. Fairfax Street #700
                              Alexandria, VA 22314




                              Inteliquent
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Intelpath
                              PO Box 145
                              Hinsdale, IL 60522




                              Intelpath Co.
                              PO Box 145
                              Hinsdale, IL 60522
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                              Internal REvenue Service
                              PO Box 932700
                              Louisville, KY 40293-2700




                              Interstate TRS Fund
                              P.O. Box 62634
                              Baltimore, MD 21264-2631




                              Interstate TRS Fund
                              PO Box 62634
                              Baltimore, MD 21264-2631




                              Intrado Life and Safety Inc.
                              P.O. Box 74007077
                              Chicago, IL 60674-7077




                              IREA
                              PO Box 6437
                              Carol Stream, IL 60197-6437




                              ISP Supplies
                              10770 Hwy 30
                              College Station, TX 77845




                              ISPN
                              14303 West 95th Street
                              Lenexa, KS 66215




                              IX - West / IX - Denver
                              4572 Cheyenne Dr
                              Larkspur, CO 80118
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                              Jawaid Bazyar
                              4705 Helena St
                              Denver, CO 80239




                              Jayson Baker
                              1351 Browning Ave
                              Woodland Park, CO 80863




                              Jayson Baker c/o Sherman &
                              Howard
                              633 17th St
                              Suite 3000
                              Denver, CO 80202


                              Jefferson County Treasurer
                              County Treasurer
                              100 Jefferson County Parkway 2520
                              Golden, CO 80419-2520



                              Jerry G & Marcia C Browder
                              504 Seville Rd
                              Denton, TX 76205




                              Jim Culhane
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              John Deere
                              6400 NW 86th St
                              PO Box 6600
                              Johnston, IA 50131-6600



                              John R. Murawski
                              1708 Ross Lane
                              Jamison, PA 18929
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                              John Vomastic
                              Manitou Springs, CO 80829




                              Jones & Keller
                              Suite 3150
                              1999 Broadway
                              Denver, CO 80202



                              Joseph Dohrn
                              1231 Charwest Dr
                              Woodland Park, CO 80863




                              Kaiser Permanente
                              PO BOX 711697
                              Denver, CO 80271-1697




                              KDH Landscaping
                              P.O. Box 1912
                              Eagle, CO 81631




                              Kelly, Patricia
                              407 Saint Ida Cir
                              Lafayette, CO 80026




                              Kevin Stewart
                              Kellogg, ID 83837




                              KOTO
                              San Miguel Educational Fund PO Box 1069
                              Telluride CO 81435 970-728-4334
                              970-728-4334
Case:21-11331-KHT Doc#:1 Filed:03/21/21       Entered:03/21/21 23:48:28 Page113 of 161


                              La Plata County Clerk &
                              Recorder
                              % TIFFANY LEE PARKER
                              98 EVERETT STREET SUITE A
                              DURANGO, CO 81303


                              La Plata Electric Assocation
                              Inc
                              PO BOX 2750
                              Durango, CO 81302-2750



                              Lance JM Steinhart P.C.
                              1725 Windward Concourse Ste 150
                              Alpharetta, GA 30005




                              LEAF 001
                              PO Box 5066
                              Hartford, CT 06102-5066




                              LEAF 002
                              PO Box 5066
                              Hartford, CT 06102-5066




                              LEAF 003
                              PO Box 5066
                              Hartford, CT 06102-5066




                              Lena Gulch Metro District
                              1546 Cole Blvd #240
                              Attn: Michelle Miley-Martin
                              Lakewood, CO 80401



                              LetterHub.com
                              Robbinsville Township, NJ 8691
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                              Louis & Patricia Goldman
                              PO Box 81
                              Cripple Creek, CO 80813




                              Luchies/Chaparrel
                              Po Box 3424
                              Durango, CO 81302-3424




                              Mammoth Networks
                              PO Box 2799
                              Gillette, WY 82717-2799




                              Mass, Wayne
                              71 N. EAGLE VIEW DR
                              DURANGO, CO 81303-6686




                              Massive Networks
                              PO Box 270059
                              Louisville, CO 80027




                              Merle Jo Crandall
                              PO Box 99
                              Pinedale, WY 82941




                              Meshcasting
                              2590 Walnut Street
                              Denver, CO 80205




                              Metaswitch Networks
                              11600 Sunrise Valley Drive
                              Suite 380
                              Reston, VA 20191
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                              Mid America Computer Corp
                              (MACC)
                              P.O. Box 700
                              Blair, NE 68008



                              Mid America Computer
                              Corporation
                              P.O. Box 700
                              Blair, NE 68008



                              MobiTV Inc.
                              1900 Powell Street #900
                              Emeryville, CA 94608




                              Neal Stelting - Merle Joe
                              Crandall
                              145 E Pine St, 2nd Floor
                              PO Box 2433
                              Pinedale, WY 82941


                              NECA
                              PO Box 2003
                              Hicksville, NY 11802




                              NENA
                              PO Box 37151
                              Baltimore, MD 21297-3151




                              Neustar
                              Bank of America
                              PO Box 403034
                              Atlanta, GA 30384-3034



                              Neustar, Inc.
                              Bank of America
                              PO Box 403034
                              Atlanta, GA 30384-3034
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                              New Mexico Taxation &
                              Revenue
                              Santa Fe, NM 80205-2627




                              Nissan
                              PO Box 660360
                              Dallas, TX 75266-0360




                              Novacomm LLC
                              PO Box 9429
                              Avon, CO 81620




                              Onvoy - 001556385491
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Onvoy - 001556422325
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Orkin
                              PO Box 7161
                              Pasadena, CA 91109-7161




                              P & L Properties
                              Dena Carpenter
                              101 3rd Street, Suite 360
                              Grand Junction, CO 81501



                              packetfabric
                              9920 Jefferson Blvd
                              Culver City, CA 90232
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                              Parker, Steve
                              P.O. Box 618
                              Azle, TX 76098




                              Pinnacol assurance servcie
                              hub
                              7501 E Lowery Blvd
                              Denver, CO 80230



                              Rackspace
                              1 Fanatical Place City of Windcrest
                              San Antonio, TX 78218




                              Reel Axis
                              1902 Wright Pl
                              Carlsbad, CA 92008




                              Region 10
                              145 S Cascade Ave
                              Montrose, CO 81401




                              RMTT
                              2525 Arapahoe Ave. #E4-184
                              Boulder, CO 80302




                              Rocky Mountain Broadband
                              LLC-Auto
                              2B Heritage Village
                              Southbury, CT 6488



                              Rolka Loube
                              4423 N Front St
                              Harrisburg, PA 177110
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                              Rolka Loube
                              4423 N Front St
                              Harrisburg, PA 17710




                              san juan copy
                              434 Turner Drive 2B
                              Durnago, CO 81303




                              San Miguel Power Assn -
                              41345
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              San Miguel Power Assn Auto -
                              34401
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              San Miguel Power Assn Auto -
                              35
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              Sanders, Cody
                              12191 County Road 120
                              Hesperus, CO 81326




                              SBA Towers
                              Attn Accounts Receivable
                              P.O. Box 933730
                              Atlanta, GA 31193-3730



                              Shawn Champagne
                              66 CENTRAL ST
                              Framingham, MA "01701
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                              SHC Landscape co
                              PO BOX 2049
                              Eagle, CO 81631




                              Sherman, Laura
                              P.O. Box 591
                              Norwood, CO 81423




                              Siklu Inc.
                              Mizrahi Tefahot Bank LTD
                              800 WIlshire Blvd. #1410
                              Los Angeles, CA 90017



                              Southwest Mobil Storage Inc
                              1005 N 50th Street
                              Phoenix, AZ 85008




                              SpectraSite Communications
                              29641 Network Place
                              Chicago, IL 60673-1296




                              Spring Creek Cable
                              PO BOX 2027
                              Montrose, CO 81402




                              Springs Mountain Water
                              123 Winters Drive
                              Colorado Springs, CO 80907




                              St. Ours, Thomas
                              PO Box 409
                              DURANGO, CO 81302-0409
Case:21-11331-KHT Doc#:1 Filed:03/21/21     Entered:03/21/21 23:48:28 Page120 of 161


                              Steven King
                              180 Ellsworth St
                              Colorado Springs, CO 80906




                              Strata Data Center
                              PO Box 400
                              Roosevelt, UT 84066




                              SWCCOG
                              Ste B
                              Durango, CO 81303




                              Telco Systems
                              15 Berkshire Road
                              Mansfield, MA 2048




                              Telecom Professionals
                              PO Box 720128
                              Oklahoma City, OK 73172-0128




                              Telecom Professionals, Inc.
                              1725 Windward Concourse Ste 150
                              Alpharetta, GA 30005




                              Telecom Surplus Resources,
                              Inc.
                              Suite 3H
                              Denver, CO 80223



                              Teller County Clerk &
                              Recorder
                              PO Box 1010
                              Cripple Creek, CO 80813-1010
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                              Temp Fence USA
                              Unit B
                              Colorado Springs, CO 80907




                              Tower Distribution Company
                              Accounts Receivable
                              5980 Collection Center Drive
                              Chicago, IL 60693



                              Town of Eagle
                              200 Broadway
                              PO Box 609
                              Eagle, CO 81631



                              Town Of Eagle - Lease
                              200 Broadway
                              PO Box 609
                              Eagle, CO 81631



                              Town Of Mountain Village
                              Finance Department
                              455 Mountain Village Blvd. #A
                              Mountain Village, CO 81435



                              Town Of Red Cliff.
                              P.O. Box 40
                              Red Cliff, CO 81649-0040




                              Transaction Network Services
                              15847 Collection Center Drive
                              Chicago, IL 60696




                              Transaction Network Services
                              Inc
                              15847 Collection Center Drive
                              Chicago, IL 60696
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                              U.S. Cleaning Professionals,
                              Inc
                              PO Box 1285
                              Dillon, CO 80435



                              United Healthcare
                              PO Box 94017
                              Palatine, IL 60094-0151




                              United States Department of
                              the Interior
                              1849 C St Nw
                              Washington, DC 20240-0001



                              universal service
                              administrative
                              PO BOX 47607
                              Baltimore , MD 21244



                              UPS
                              PO Box 650116
                              Dallas, TX 75265-0116




                              USIC Locating Services, LLC
                              PO Box 713359
                              Cincinnati, OH 45271




                              Ute Pass Concrete-Sand &
                              Gravel
                              20575 Highway 24
                              Woodland Park, CO 80863



                              Verizon
                              PO BOX 15043
                              Albany , NY 12212-5043
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                              Vero FIber Networks, LLC
                              1023 Walnut St
                              Boulder, CO 80306




                              Vertiv
                              1050 Dearborn Drive
                              Columbus, OH 43085




                              VETRO FiberMap
                              80 Congress Street Third Floor
                              Portland, ME 4101




                              viiz Communications Inc
                              PO Box 734602
                              Dallas, TX 75373-4602




                              VoIP, LLC
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              VRE Towers LLC
                              1418 Bradley Avenue
                              Cheyenne, WY 82001




                              WAV Inc
                              Aurora, IL 60502




                              Wells Fargo Credit Card
                              PO Box 10347
                              Des Moines, IA 50306-0347
Case:21-11331-KHT Doc#:1 Filed:03/21/21      Entered:03/21/21 23:48:28 Page124 of 161


                              Wells Fargo LOC (Auto)
                              PO Box 29482
                              Phoenix, AZ 85038-8650




                              Werks Auto & Diesel Repair,
                              LLC
                              PO Box 2219
                              Gypsum, CO 81637



                              Western Peaks Logistics
                              PO Box 150147
                              Ogden, UT 84415-0147




                              Western Slope Beverage
                              PO Box 3779
                              Eagle, CO 81631-3779




                              Western Slope
                              Communications, LLC
                              Attn:General Manager
                              751 Horizon Court Suite 225
                              Grand Junction, CO 81506


                              Wisner, Jaime
                              Durango, CO 81301




                              Zayo 4566
                              PO Box 952136
                              Dallas, TX 75395-2136
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                              A1 Fiber Optics, LLC
                              Suite 400-348
                              Grand Junction, CO 81505




                              Ally
                              PO Box 380902
                              Bloomington, MN 55438-0902




                              Altec Capital
                              33 Inverness Center Pkwy
                              Suite 200
                              Birmingham, AL 35242



                              American Express
                              PO Box 650448
                              Dallas, TX 75265-0448




                              American Tower
                              29637 Network Place
                              Chicago, IL 60673-1296




                              Andrew Wommack Ministries
                              1 Innovation Way Ste B
                              Woodland Park, CO 80863




                              APEX Security
                              410 SW COLUMBIA STREET
                              Ste 120
                              Bend, OR 97702



                              APEX Security Fire Alarm
                              410 SW COLUMBIA STREET
                              Ste 120
                              Bend, OR 97702
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                              Arapahoe County Treasurer
                              5334 S Prince St
                              Littleton, CO 80120-1136




                              ARIN
                              PO Box 759477
                              Baltimore, MD 21275-9477




                              ATL Communications
                              2700 NE 4th St, Ste 240
                              Bend, OR 97701




                              Aubrey Shomo-1099
                              1550 Larimer St. PMB 255
                              Denver, CO 80202




                              Avalara
                              P.O. Box 122397
                              Dallas, TX 75312-2397




                              Aztec,City of(Tower Rental)
                              201 W Chaco
                              Aztec, NM 87410




                              Balboa Capital
                              575 Anton Blvd
                              12th Floor
                              Costa Mesa, CA 92626



                              Bandwidth.com, Inc
                              PO Box 715382
                              Cincinnati, OH 45271-5382
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                              Bank of America
                              PO Box 982238
                              El Paso, TX 79998-2238




                              Banner Life Insurance
                              Company
                              3275 Bennett Breek Ave
                              Frederick, MD 21704-7608



                              BLM
                              PO Box 25047
                              OC-371
                              Denver, CO 80225-0047



                              BNP Paribas
                              787 Seventh Avenue
                              New York, NY 10019




                              Boulder County Assessors
                              Office
                              Attn: Paul Weissmann
                              P.O. Box 471
                              Boulder, CO 80306


                              Bulk Solutions LLC
                              5 Piccadilly Rd
                              Great Neck, NY 11023




                              Calix
                              PO Box 843163
                              Dallas, TX 75284-3163




                              Calix Inc
                              PO Box 843163
                              Dallas, TX 75284-3163
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                              CenturyLink
                              CenturyLink - Access Billing
                              CABS 2 Tower South
                              Monroe, LA 71211-4648



                              Centurylink 5-YBSMFPDM-A
                              CenturyLink - Access Billing
                              CABS 2 Tower South
                              Monroe, LA 71211-4648



                              CenturyLink 7196874325074B
                              PO Box 91155
                              Seattle, WA 98111-9255




                              CenturyLink 7196879071465B
                              PO Box 91155
                              Seattle, WA 98111-9255




                              CenturyLink 86983290
                              PO Box 52187
                              Phoenix, AZ 85072-2187




                              CenturyLink
                              K3031111174174M
                              PO Box 91155
                              Seattle, WA 98111-9255



                              CenturyLink
                              K7196870326463M
                              PO Box 91155
                              Seattle, WA 98111-9255



                              CenturyLink
                              K7196870329072M
                              PO Box 91155
                              Seattle, WA 98111-9255
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                              CenturyLink-Lexcis
                              LEXCIS
                              PO Box 2348
                              Seattle, WA 98111



                              Charles N. Nichols
                              P.O. Box 85
                              Molina, CO 81646




                              Chase Card
                              PO Box 6294
                              Carol Stream, IL 60197-6294




                              Christine Taylor
                              15333 Heritage circle
                              Thornton, CO 80602




                              Circle Z Construction
                              PO Box 625
                              Mancos, CO 81328




                              CIT 907-0005919-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0005955-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006027-000
                              PO Box 100706
                              Pasadena, CA 91189-0706
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                              CIT 907-0006105-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006108-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006156-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              CIT 907-0006190-000
                              PO Box 100706
                              Pasadena, CA 91189-0706




                              Citi Cards
                              6716 Grade Lane
                              Building 9, Suite 910
                              Louisville, KY 40213



                              CitiCards
                              PO Box 6235
                              Sioux Falls, SD 57117-6235




                              City and county of Denver
                              PO BOX 650781
                              Dallas, TX 75265-0781




                              City and County of Denver
                              Department of Finance
                              Treasury divison
                              PO BOX 660860
                              201 W Colfax Ave
                              Denver, CO 80202-5329
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                              City of Aurora
                              PO BOX 913200
                              Denver, CO 80291-3200




                              City Of Cortez
                              123 Roger Smith Ave
                              Cortez, CO 81321




                              city of durango
                              949 E 2nd Ave
                              Durango, CO 81301




                              City of Englewood
                              1000 Engelwood Parkway
                              Englewood, CO 80110-2373




                              City of Farmington
                              101 N Browning PKWY
                              Farmington, NM 87401-7995




                              Clearnetworx - 105010
                              PO Box 1809
                              Montrose, CO 81402




                              Clearnetworx - 106522
                              PO Box 1809
                              Montrose, CO 81402




                              CO Department of Labor and
                              Employment
                              PO BOX 400
                              Denver , CO 80201-0400
Case:21-11331-KHT Doc#:1 Filed:03/21/21      Entered:03/21/21 23:48:28 Page132 of 161


                              CO Department of Revenue
                              Denver, CO 802610004




                              Collegiate Peaks Bank
                              885 S Colorado Blvd
                              Denver, CO 80246




                              Colorado Department of
                              Revenue
                              Denver, CO 80261-0004




                              Colorado Division of Labor
                              633 17th St Ste 201
                              Denver, CO 80202-3624




                              Colorado Hi-Tek
                              Ste 292
                              Gillette, WY 82716




                              Colorado Parks and Wildlife
                              P.O. Box 173923
                              Denver, CO 80217
                              Denver, CO 80217



                              Colorado West Broadcasting
                              3230-B South Glen Ave
                              Glennwood Springs, CO 81601




                              Comcast - Enterprise
                              PO Box 37601
                              Philadelphia, PA 19101
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                              Comcast Business-ETH
                              PO Box 37601
                              Philapephia, PA 19104-0601




                              Comcast Technology
                              Solutions-DIA
                              13431 Collections Center Drive
                              Chicago, IL 60693



                              Commissions -BS -eTech
                              Broadband, LLC
                              Ken Olson
                              Norwood, CO 81423



                              Commissions-All Mountain
                              Technologies
                              27 Main Street, Suite 200
                              Edwards, CO 81632



                              Commissions-Allen IT
                              5700 Washington St.
                              Denver, CO 80216




                              Commissions-Anchor Network
                              Solutions
                              9233 Park Meadows Drive
                              LoneTree, CO 80124



                              Commissions-Automation
                              Concepts Co
                              1250 Bergen Pkwy
                              Ste B100
                              Evergreen, CO 80439


                              Commissions-Brooktrout
                              Telecom
                              2751 E Linvale Pl
                              Denver, CO 80210
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                              Commissions-CommWest
                              302 South Ave
                              Grand Junction, CO 81501




                              Commissions-Confitel, LLC
                              William Kendrick
                              2253 Madison Dr.
                              Erie, CO 80516



                              Commissions-CTG3, LLC
                              1232 250th Ave NE
                              Redmond, WA 98074




                              Commissions-Decypher
                              Technologies
                              2700 Gilstrap Court
                              Ste 220
                              Glenwood Springs, CO 81601


                              Commissions-High Plains
                              Computer Services
                              2841 Penstemon Way
                              Castle Rock, CO 80109



                              Commissions-IQWired Inc.
                              PO Box 460099
                              Denver, CO 80246




                              Commissions-Liberty
                              Communications
                              510 Compton
                              Ste 101
                              Broomfield, CO 80020


                              Commissions-McGowan
                              Consulting
                              288 28 Rd
                              Grand Junction, CO 81503
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                              Commissions-Mile High PC
                              Solutions
                              10153 Scenic Ct
                              Firestone, CO 80504



                              Commissions-MITech
                              276 S Tucson Circle
                              Aurora, CO 80012




                              Commissions-NCS
                              200 W Main St
                              Farmington, NM 87401




                              Commissions-Optimal
                              Telecom Solutions
                              1925 Dominion way #101
                              Colorado Springs, CO 80918



                              Commissions-Pegasus
                              Communications
                              P.O. Box 440636
                              Aurora, CO 80044



                              Commissions-Pipertel
                              Communications, LLC
                              PO Box 987
                              Evergreen, CO 80437



                              Commissions-PJV Consulting
                              2501 Locust St
                              Denver, CO 80207




                              Commissions-Radix
                              Tech-CybertekSystems
                              c/o Believe Ventures
                              965 S 1st Street, Unit F110
                              Bennett, CO 80102
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                              Commissions-RealCom
                              Solutions
                              Attn: Charlie Bogart
                              5713 Headquarters Dr
                              Plano, TX 75024


                              Commissions-Rocky Mountain
                              Tech Team
                              2525 Arapahoe Ave Unit E-4-184
                              Boulder, CO 80302



                              Commissions-Telecom
                              Efficient
                              4610 S Ulster St
                              Ste 150
                              Denver, CO 80237


                              Commissions-Telecom
                              National
                              1794 Boulder Moutain Rd
                              St George, UT 84790



                              Commissions-Total Solutions
                              454 Las Gallinas Ave, Ste 150
                              San Rafael, CA 94903




                              Commissions-Turnkey
                              Telecom
                              6586 S Xenon St
                              Littleton, CO 80127



                              Commissions-Twisted Pair
                              Twisted Pair NM, LLC
                              406 McDonald Rd
                              Farmington, NM 87401



                              Commissions-Walnut Telecom
                              Group
                              865 S. Cove Way
                              Denver, CO 80209
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                              Commnet Atlantic
                              Tele-Network
                              Attn: Accounts Receivable
                              400 Northridge Pkwy, Suite 325
                              Atlanta, GA 30350


                              Community banks
                              PO Box 26526
                              Kansas CIty, MO 64196




                              Community Banks of Colorado
                              19 N Tejon St Ste 100
                              Colorado Springs, CO 80903




                              Consara Financing
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              Consolidated Call Center
                              Services
                              dba Consolidated CCS
                              PO Box 861
                              Mattoon, IL 61938-0861


                              CoreSite Services, Inc.
                              PO Box 74338
                              Cleveland, OH 44194-4338




                              Daniel J Culhane LLC
                              1600 Broadway
                              Suite 1400
                              Denver, CO 80202



                              Data102
                              Suite 220
                              Colorado Springs, CO 80903
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                              Davis Graham & Stubbs
                              Suite 500
                              Denver, CO 80202




                              DB Tech Inc.
                              Suite E
                              Bloomfield, NM 87413




                              Dell Financial Services-
                              001-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              002-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              003-Auto
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Dell Financial Services-
                              004-AUTO
                              P O Box 5292
                              Carol Stream, IL 60197-5292



                              Delta Dental of Colorado
                              PO Box 912148
                              Denver, CO 80291-2148




                              Denver Fire Prevention
                              Division
                              Attn: Permits
                              P.O. Box 733422
                              Dallas, TX 75373-3422
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                              Denver Gas & Electric - DGEB
                              Meet Me Room
                              910 15th St, Ste 1050
                              Denver, CO 80202



                              Department of Treasury IRS
                              Ogden, UT 842010030




                              Department of Treasury IRS
                              CP504B
                              185 Little Park Road
                              Grand Junction, CO 81507



                              Direct Capital / CIT
                              PO Box 7056
                              Pasadena, CA 91109-9699




                              Ditch Witch of the Rockies
                              9000N I-35 Svc Rd
                              Oklahoma City, OK 73131




                              Division Of Property Taxation
                              1313 N Sherman St Ste 419
                              Denver, CO 80203-2242




                              Douglas Wagner
                              P.O. Box 2457
                              Monument, CO 80132




                              DPE, LLC - GJISP - 2nd
                              Palisade
                              575 South Westgate Drive
                              Unit A
                              Grand Junction, CO 81505
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                              DPE, LLC - Palisade & Gray
                              Head
                              575 South Westgate Drive
                              Unit A
                              Grand Junction, CO 81505


                              Eagle County
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479



                              Eagle County - Property Tax
                              thru 2018
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479


                              Eagle County Treasurer
                              500 Broadway
                              po box 479
                              Eagle, CO 81631-0479



                              Edgeconnex
                              Suite 400
                              Herndon, VA 20171




                              EXPRESSTOLL
                              22470 E Stephen D. Hogan Parkway
                              #110
                              Aurora, CO 80018



                              ExteNet Systems Inc
                              3030 Warrenville Rd Ste 340
                              Lisle, IL 60532




                              Farmington, City of
                              (Licensing)
                              800 Municipal Dr
                              Farmington, NM 87401-2663
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                              Fast-Break Auto Glass
                              PO Box 3000-228
                              Edwards, CO 81632




                              FastTrack Communications
                              Ste 200
                              Durango, CO 81301




                              FCC Unicesal service
                              administrative Co
                              PO BOX 47607
                              Baltimore , MD 21244



                              FHC Properties LLC
                              Woodland Park, CO 80863




                              Fiber Optic Supply
                              2171 S. Trenton Way
                              Denver, CO 80231-5359




                              Four States Communications
                              909 E Murray Dr
                              FARMINGTON, NM 87401




                              Galt's Gulch
                              2347 Curtis St.
                              Denver, CO 80205




                              Gary Mills
                              PO Box 83
                              Florrisant, CO 80816
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                              Glenwood Caverns Adventure
                              Park
                              51000 Two Rivers Plaza Rd
                              Glenwood Springs, CO 81601



                              Gomerdinger & Associates
                              LLC
                              Suite 1300
                              Greenwood Village, CO 80111



                              Grand Valley Power - 1200
                              PO Box 190
                              Grand Junction, CO 81502




                              Grand Valley Power-1301
                              48RD (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-2101
                              44RD (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-3010
                              Store (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley Power-7102
                              Trnsmttr (AUTO)
                              PO Box 190
                              Grand Junction, CO 81502



                              Grand Valley
                              Telecommunications
                              123 North 7th St, #120
                              Grand Junction, CO 81501
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                              Graybar
                              File 57072
                              Los Angeles, CA 90074-7072




                              Graybar Electric
                              480 E 55TH AVE
                              UNIT 500
                              denver, CO 80216-1762



                              GVNW Consulting
                              2211 N Minnesota St
                              Mitchell, SD 57301




                              GW Highlander, LLC
                              511 Butte Circle
                              Durango, CO 81301




                              H5 Data Centers
                              9320 Wilshire Boulevard
                              #300
                              Beverly Hills, CA 90212



                              Hanover Insurance Company
                              (Auto)
                              PO Box 15083
                              Worcester, MA 01615-0083



                              Hercules Storage Containers
                              281 S Skylane Dr unit c
                              Durango, CO 81303




                              High Mtn Messenger LLC
                              dbaThe Mtn Jackpot
                              dba The Mountain Jackpot
                              PO Box 116
                              Woodland Park, CO 80866
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                              Hoak Media
                              Attn: Randy Stone
                              345 Hillcrest Manor
                              Grand Junction, CO 81501



                              Holy Cross Energy
                              3799 CO-82
                              Glenwood Springs, CO 81601-9349




                              Holy Cross Energy -
                              500655400
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              500922300
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501016400
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501024100
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Holy Cross Energy -
                              501429300
                              3799 Highway 82
                              PO Box 2150
                              Glenwood Springs, CO 81602


                              Hurricane Electric Internet
                              Services
                              760 Mission Court
                              Fremont, CA 94539
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                              iconectiv
                              dba - iconectiv
                              Church Street Station
                              New York, NY 10249



                              Image Bearer Cleaning
                              684 Bradford Dr
                              Woodland Park, CO 80863




                              Impact Telecom/Matrix
                              Telcom LLC
                              400 East Las Colinas Blvd., Suite 500
                              Irving, TX 75039



                              Insight Solutions Consulting
                              LLC
                              Unit K-2 110
                              Westminster, CO 80021



                              Insite
                              1199 N. Fairfax Street #700
                              Alexandria, VA 22314




                              Inteliquent
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Intelpath
                              PO Box 145
                              Hinsdale, IL 60522




                              Intelpath Co.
                              PO Box 145
                              Hinsdale, IL 60522
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                              Internal REvenue Service
                              PO Box 932700
                              Louisville, KY 40293-2700




                              Interstate TRS Fund
                              P.O. Box 62634
                              Baltimore, MD 21264-2631




                              Interstate TRS Fund
                              PO Box 62634
                              Baltimore, MD 21264-2631




                              Intrado Life and Safety Inc.
                              P.O. Box 74007077
                              Chicago, IL 60674-7077




                              IREA
                              PO Box 6437
                              Carol Stream, IL 60197-6437




                              ISP Supplies
                              10770 Hwy 30
                              College Station, TX 77845




                              ISPN
                              14303 West 95th Street
                              Lenexa, KS 66215




                              IX - West / IX - Denver
                              4572 Cheyenne Dr
                              Larkspur, CO 80118
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                              Jawaid Bazyar
                              4705 Helena St
                              Denver, CO 80239




                              Jayson Baker
                              1351 Browning Ave
                              Woodland Park, CO 80863




                              Jayson Baker c/o Sherman &
                              Howard
                              633 17th St
                              Suite 3000
                              Denver, CO 80202


                              Jefferson County Treasurer
                              County Treasurer
                              100 Jefferson County Parkway 2520
                              Golden, CO 80419-2520



                              Jerry G & Marcia C Browder
                              504 Seville Rd
                              Denton, TX 76205




                              Jim Culhane
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              John Deere
                              6400 NW 86th St
                              PO Box 6600
                              Johnston, IA 50131-6600



                              John R. Murawski
                              1708 Ross Lane
                              Jamison, PA 18929
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                              John Vomastic
                              Manitou Springs, CO 80829




                              Jones & Keller
                              Suite 3150
                              1999 Broadway
                              Denver, CO 80202



                              Joseph Dohrn
                              1231 Charwest Dr
                              Woodland Park, CO 80863




                              Kaiser Permanente
                              PO BOX 711697
                              Denver, CO 80271-1697




                              KDH Landscaping
                              P.O. Box 1912
                              Eagle, CO 81631




                              Kelly, Patricia
                              407 Saint Ida Cir
                              Lafayette, CO 80026




                              Kevin Stewart
                              Kellogg, ID 83837




                              KOTO
                              San Miguel Educational Fund PO Box 1069
                              Telluride CO 81435 970-728-4334
                              970-728-4334
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                              La Plata County Clerk &
                              Recorder
                              % TIFFANY LEE PARKER
                              98 EVERETT STREET SUITE A
                              DURANGO, CO 81303


                              La Plata Electric Assocation
                              Inc
                              PO BOX 2750
                              Durango, CO 81302-2750



                              Lance JM Steinhart P.C.
                              1725 Windward Concourse Ste 150
                              Alpharetta, GA 30005




                              LEAF 001
                              PO Box 5066
                              Hartford, CT 06102-5066




                              LEAF 002
                              PO Box 5066
                              Hartford, CT 06102-5066




                              LEAF 003
                              PO Box 5066
                              Hartford, CT 06102-5066




                              Lena Gulch Metro District
                              1546 Cole Blvd #240
                              Attn: Michelle Miley-Martin
                              Lakewood, CO 80401



                              LetterHub.com
                              Robbinsville Township, NJ 8691
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                              Louis & Patricia Goldman
                              PO Box 81
                              Cripple Creek, CO 80813




                              Luchies/Chaparrel
                              Po Box 3424
                              Durango, CO 81302-3424




                              Mammoth Networks
                              PO Box 2799
                              Gillette, WY 82717-2799




                              Mass, Wayne
                              71 N. EAGLE VIEW DR
                              DURANGO, CO 81303-6686




                              Massive Networks
                              PO Box 270059
                              Louisville, CO 80027




                              Merle Jo Crandall
                              PO Box 99
                              Pinedale, WY 82941




                              Meshcasting
                              2590 Walnut Street
                              Denver, CO 80205




                              Metaswitch Networks
                              11600 Sunrise Valley Drive
                              Suite 380
                              Reston, VA 20191
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                              Mid America Computer Corp
                              (MACC)
                              P.O. Box 700
                              Blair, NE 68008



                              Mid America Computer
                              Corporation
                              P.O. Box 700
                              Blair, NE 68008



                              MobiTV Inc.
                              1900 Powell Street #900
                              Emeryville, CA 94608




                              Neal Stelting - Merle Joe
                              Crandall
                              145 E Pine St, 2nd Floor
                              PO Box 2433
                              Pinedale, WY 82941


                              NECA
                              PO Box 2003
                              Hicksville, NY 11802




                              NENA
                              PO Box 37151
                              Baltimore, MD 21297-3151




                              Neustar
                              Bank of America
                              PO Box 403034
                              Atlanta, GA 30384-3034



                              Neustar, Inc.
                              Bank of America
                              PO Box 403034
                              Atlanta, GA 30384-3034
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                              New Mexico Taxation &
                              Revenue
                              Santa Fe, NM 80205-2627




                              Nissan
                              PO Box 660360
                              Dallas, TX 75266-0360




                              Novacomm LLC
                              PO Box 9429
                              Avon, CO 81620




                              Onvoy - 001556385491
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Onvoy - 001556422325
                              9081 Paysphere Circle
                              Chicago, IL 60674-0090




                              Orkin
                              PO Box 7161
                              Pasadena, CA 91109-7161




                              P & L Properties
                              Dena Carpenter
                              101 3rd Street, Suite 360
                              Grand Junction, CO 81501



                              packetfabric
                              9920 Jefferson Blvd
                              Culver City, CA 90232
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                              Parker, Steve
                              P.O. Box 618
                              Azle, TX 76098




                              Pinnacol assurance servcie
                              hub
                              7501 E Lowery Blvd
                              Denver, CO 80230



                              Rackspace
                              1 Fanatical Place City of Windcrest
                              San Antonio, TX 78218




                              Reel Axis
                              1902 Wright Pl
                              Carlsbad, CA 92008




                              Region 10
                              145 S Cascade Ave
                              Montrose, CO 81401




                              RMTT
                              2525 Arapahoe Ave. #E4-184
                              Boulder, CO 80302




                              Rocky Mountain Broadband
                              LLC-Auto
                              2B Heritage Village
                              Southbury, CT 6488



                              Rolka Loube
                              4423 N Front St
                              Harrisburg, PA 177110
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                              Rolka Loube
                              4423 N Front St
                              Harrisburg, PA 17710




                              san juan copy
                              434 Turner Drive 2B
                              Durnago, CO 81303




                              San Miguel Power Assn -
                              41345
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              San Miguel Power Assn Auto -
                              34401
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              San Miguel Power Assn Auto -
                              35
                              PO BOX 817
                              NUCLA, CO 81424-0817



                              Sanders, Cody
                              12191 County Road 120
                              Hesperus, CO 81326




                              SBA Towers
                              Attn Accounts Receivable
                              P.O. Box 933730
                              Atlanta, GA 31193-3730



                              Shawn Champagne
                              66 CENTRAL ST
                              Framingham, MA "01701
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                              SHC Landscape co
                              PO BOX 2049
                              Eagle, CO 81631




                              Sherman, Laura
                              P.O. Box 591
                              Norwood, CO 81423




                              Siklu Inc.
                              Mizrahi Tefahot Bank LTD
                              800 WIlshire Blvd. #1410
                              Los Angeles, CA 90017



                              Southwest Mobil Storage Inc
                              1005 N 50th Street
                              Phoenix, AZ 85008




                              SpectraSite Communications
                              29641 Network Place
                              Chicago, IL 60673-1296




                              Spring Creek Cable
                              PO BOX 2027
                              Montrose, CO 81402




                              Springs Mountain Water
                              123 Winters Drive
                              Colorado Springs, CO 80907




                              St. Ours, Thomas
                              PO Box 409
                              DURANGO, CO 81302-0409
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                              Steven King
                              180 Ellsworth St
                              Colorado Springs, CO 80906




                              Strata Data Center
                              PO Box 400
                              Roosevelt, UT 84066




                              SWCCOG
                              Ste B
                              Durango, CO 81303




                              Telco Systems
                              15 Berkshire Road
                              Mansfield, MA 2048




                              Telecom Professionals
                              PO Box 720128
                              Oklahoma City, OK 73172-0128




                              Telecom Professionals, Inc.
                              1725 Windward Concourse Ste 150
                              Alpharetta, GA 30005




                              Telecom Surplus Resources,
                              Inc.
                              Suite 3H
                              Denver, CO 80223



                              Teller County Clerk &
                              Recorder
                              PO Box 1010
                              Cripple Creek, CO 80813-1010
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                              Temp Fence USA
                              Unit B
                              Colorado Springs, CO 80907




                              Tower Distribution Company
                              Accounts Receivable
                              5980 Collection Center Drive
                              Chicago, IL 60693



                              Town of Eagle
                              200 Broadway
                              PO Box 609
                              Eagle, CO 81631



                              Town Of Eagle - Lease
                              200 Broadway
                              PO Box 609
                              Eagle, CO 81631



                              Town Of Mountain Village
                              Finance Department
                              455 Mountain Village Blvd. #A
                              Mountain Village, CO 81435



                              Town Of Red Cliff.
                              P.O. Box 40
                              Red Cliff, CO 81649-0040




                              Transaction Network Services
                              15847 Collection Center Drive
                              Chicago, IL 60696




                              Transaction Network Services
                              Inc
                              15847 Collection Center Drive
                              Chicago, IL 60696
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                              U.S. Cleaning Professionals,
                              Inc
                              PO Box 1285
                              Dillon, CO 80435



                              United Healthcare
                              PO Box 94017
                              Palatine, IL 60094-0151




                              United States Department of
                              the Interior
                              1849 C St Nw
                              Washington, DC 20240-0001



                              universal service
                              administrative
                              PO BOX 47607
                              Baltimore , MD 21244



                              UPS
                              PO Box 650116
                              Dallas, TX 75265-0116




                              USIC Locating Services, LLC
                              PO Box 713359
                              Cincinnati, OH 45271




                              Ute Pass Concrete-Sand &
                              Gravel
                              20575 Highway 24
                              Woodland Park, CO 80863



                              Verizon
                              PO BOX 15043
                              Albany , NY 12212-5043
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                              Vero FIber Networks, LLC
                              1023 Walnut St
                              Boulder, CO 80306




                              Vertiv
                              1050 Dearborn Drive
                              Columbus, OH 43085




                              VETRO FiberMap
                              80 Congress Street Third Floor
                              Portland, ME 4101




                              viiz Communications Inc
                              PO Box 734602
                              Dallas, TX 75373-4602




                              VoIP, LLC
                              7375 E 5th Avenue Pkw
                              Denver, CO 80230




                              VRE Towers LLC
                              1418 Bradley Avenue
                              Cheyenne, WY 82001




                              WAV Inc
                              Aurora, IL 60502




                              Wells Fargo Credit Card
                              PO Box 10347
                              Des Moines, IA 50306-0347
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                              Wells Fargo LOC (Auto)
                              PO Box 29482
                              Phoenix, AZ 85038-8650




                              Werks Auto & Diesel Repair,
                              LLC
                              PO Box 2219
                              Gypsum, CO 81637



                              Western Peaks Logistics
                              PO Box 150147
                              Ogden, UT 84415-0147




                              Western Slope Beverage
                              PO Box 3779
                              Eagle, CO 81631-3779




                              Western Slope
                              Communications, LLC
                              Attn:General Manager
                              751 Horizon Court Suite 225
                              Grand Junction, CO 81506


                              Wisner, Jaime
                              Durango, CO 81301




                              Zayo 4566
                              PO Box 952136
                              Dallas, TX 75395-2136
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                         District of Colorado

In re
Futurum Communications Corporation                                                                                      Case No.
Debtor(s)                                                                                                               Chapter          11


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $25,000.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                                   $0.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              $25,000.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.
     ✔
     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.
     ***Debtor is being Charged an hourly rate of $400.00 an hour with a $25K retainer.***

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         03/22/2021                                       /s/ Jessica Hoff
                         Date                                                 Signature of Attorney
                                                                                                                            Jessica Hoff
                                                                                                                      Bar Number: 37332
                                                                                                                  Hoff Law Offices, P.C.
                                                                                                        6400 S Fiddlers Green Cir Ste 250
                                                                                                          Greenwood Vlg, CO 80111-5075
                                                                                                                   Phone: (720) 739-3599

                                                                          Hoff Law Offices, P.C.
                                                                             Name of law firm
